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                                                                             10.678.02



                                No. 21-71426


  UNITED STATES COURT OF APPEALS FOR THE NINTH CIRCUIT


               BACKCOUNTRY AGAINST DUMPS, et al.,
                                 Petitioners,
                                      v.
           FEDERAL AVIATION ADMINISTRATION, et al.,
                                Respondents.

__________________________________________________________________

 ON PETITIONERS’ ORIGINAL PETITION FOR REVIEW OF FINAL
AGENCY ACTION PER 49 U.S.C. SECTION 46110 AND RULE 16 OF THE
        FEDERAL RULES OF APPELLATE PROCEDURE



                    PETITIONERS’ OPENING BRIEF




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                 CORPORATE DISCLOSURE STATEMENT
      Pursuant to Federal Rule of Appellate Procedure 26.1, Petitioners
Backcountry Against Dumps, Donna Tisdale and Joe E. Tisdale submit the
following disclosure statement.
      Petitioner Backcountry Against Dumps is a non-profit corporation, and does
not have any parent companies, subsidiaries, or affiliates that have issued shares to
the public in the United States or abroad. Petitioners Donna Tisdale and Joe E.
Tisdale are individuals suing in their individual capacity.


July 13, 2022                     Respectfully submitted,
                                  /s/ Stephan C. Volker
                                  STEPHAN C. VOLKER
                                  Attorney for Petitioners
                                  BACKCOUNTRY AGAINST DUMPS, et al.




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Ninth Circuit Rules
      Rule 28-2.7. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3




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                                 I. INTRODUCTION

      This case poses a simple issue: must the Respondents Federal Aviation
Administration (“FAA”) and U.S. Department of Transportation (collectively,
“Respondents” or “FAA”) abide by their public notice and comment regulations
requiring them to allow Petitioners Backcountry Against Dumps, Donna Tisdale
and Joe E. Tisdale (“Petitioners” or “Backcountry”) to file their administrative
Petition for Review challenging the FAA’s determination that a 586-foot high, 10-
mile wide wind turbine project atop the Coast Range poses no hazards to aviation
safety?
      Petitioners respectfully petition this Court, pursuant to 49 U.S.C. section
46110 and based on Respondents’ Agency Record (“AR”) certified and
augmented under Rule 16 of the Federal Rules of Appellate Procedure, for review
of Respondents’ October 15, 2021“Notice of Invalid Petition Received” denying
Petitioners’ September 30, 2021Petition for Review of the FAA’s Determination
of No Hazard to Air Navigation for 72 wind turbines associated with the Campo
Wind Project with Boulder Brush Facilities (“Campo Wind Project” or “Project”)).
The Campo Wind Project would construct some of the tallest wind turbines ever
built on land in the United States, including 60 turbines 586 feet high – roughly
twice the height of the Statue of Liberty. They would be built in 13 groups atop
the crest of the Coast Range and within the principal aviation corridor between
San Diego, California and Yuma, Arizona, and would impair radar function,
impede aerial firefighting and other emergency response, and force air traffic to fly
at higher altitudes more prone to icing hazards to clear these enormous
obstructions.




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          STATEMENT OF APPELLATE COURT JURISDICTION
      This Court has jurisdiction of this Petition for Review of final agency action
by Respondents pursuant to the judicial review provisions of 49 U.S.C. section
46110. Section 46110(a) provides in pertinent part that “a person disclosing a
substantial interest in an order issued by the . . . Administrator of the Federal
Aviation Administration . . . may apply for review of the order by filing a petition
for review in the . . . court of appeals of the United States for the circuit in which
the person resides or has its principal place of business.”
      This Court’s rules provide for review of Respondents’ challenged Project
approval based on its Agency Record as augmented in accordance with Rule 16 of
the Federal Rules of Appellate Procedure. Rule 16 prescribes the contents of the
judicial record on review of a final agency order.
                                ISSUE ON REVIEW
      This Petition for Review raises a single, simple issue: Did the FAA violate
its regulations for hearing administrative petitions for review by refusing to
consider, and instead declaring “invalid,” Petitioners’ timely and procedurally
compliant administrative Petition for Review submitted on September 20, 2021,
pursuant to 49 U.S.C. section 44718 and 14 C.F.R. sections 77.37 and 77.39,
seeking review of the FAA’s August 31, 2021 Determinations of No Hazard to Air
Navigation (“DNHs” or “Letter Determinations”) for the Campo Wind Project?
The FAA rejected Petitioners’ administrative Petition for Review on the sole
grounds that Petitioners did not submit a second (in addition to their first),
separate set of comments during the FAA’s second comment period. However,
Petitioners never received notice of that second comment period, and therefore
were entitled to file their Petition for Review under the FAA’s own regulations.



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                                   ADDENDUM
      In accordance with Ninth Circuit Rule 28-2.7, Petitioners have included an
Addendum containing pertinent statutes and regulations.
                          STATEMENT OF THE CASE
      This is a public interest case seeking to protect the public’s aviation safety
and to compel the FAA to abide by its public notice rules. It arises from the FAA’s
refusal to consider, on the grounds it was “invalid,” Petitioners’ timely and
procedurally compliant 96-page administrative Petition for Review submitted on
September 20, 2021, objecting to and seeking review of the FAA’s August 31,
2021 Determinations of No Hazard to Air Navigation for 72 wind turbines
associated with the Campo Wind Project (“DNHs” or “Determination Letters”).
Their Petition for Review addresses the virtually identical determination of no
hazard letters issued by the FAA for each of the Project’s turbines, identified as
ASN 2019-WTW-4517-OE through ASN 2019-WTW-4580-OE, inclusive, and
ASN 2019-WTW-4585-OE through ASN 2019-WTW-4592-OE, inclusive,1

1
  The 72 DNHs relate to the following wind turbines proposed for the Campo
Wind Project: ASN 2019-WTW-4517-OE, ASN 2019-WTW-4518-OE,
ASN 2019-WTW-4519-OE, ASN 2019-WTW-4520-OE, ASN
2019-WTW-4521-OE, ASN 2019-WTW-4522-OE, ASN 2019-WTW-4523-OE,
ASN 2019-WTW-4524-OE, ASN 2019-WTW-4525-OE, ASN
2019-WTW-4526-OE, ASN 2019-WTW-4527-OE, ASN 2019-WTW-4528-OE,
ASN 2019-WTW-4529-OE, ASN 2019-WTW-4530-OE,
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ASN 2019-WTW-4536-OE, ASN 2019-WTW-4537-OE, ASN
2019-WTW-4538-OE, ASN 2019-WTW-4539-OE, ASN 2019-WTW-4540-OE,
ASN 2019-WTW-4541-OE, ASN 2019-WTW-4542-OE,
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2019-WTW-4545-OE, ASN 2019-WTW-4546-OE, ASN 2019-WTW-4547-OE,
ASN 2019-WTW-4548-OE, ASN 2019-WTW-4549-OE, ASN
2019-WTW-4550-OE, ASN 2019-WTW-4551-OE, ASN 2019-WTW-4552-OE,
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pursuant to 49 U.S.C. section 44718 and 14 C.F.R. sections 77.37 and 77.39,
objecting to and seeking review of the FAA’s August 31, 2021 DNH’s for the
Campo Wind Project. Petitioners’ Opening Excerpts of Agency Record, filed
concurrently (“ER”), Volume 2, pages 4-99 (“2-ER-4-99”) (Petition for Review);
2-ER-100 (Petitioners’ transmittal email); 6-ER-1118 (Project site map).
      As detailed in the following Statement of Facts, this judicial proceeding
arises from the second time Petitioners sought administrative review of the FAA’s
approval of this mammoth Project. The first time, in response to Petitioners’ initial
administrative Petition for Review filed August 17, 2020, the FAA’s internal
administrative review process worked. Following receipt on January 30, 2020 of
Petitioners’ 666-page comments on the FAA’s consideration of the Project for a
determination that its 72 wind turbines posed no hazard to aviation safety (4-ER-
444-643; 5-ER-645-782, 785-927; 6-ER-929-1111), the FAA circulated public
notice of its approval of the Project on July 16, 2020, prompting Petitioners’ timely
filing of their Petition for Review on August 17, 2020 (3-ER-179-412). After the


ASN 2019-WTW-4553-OE, ASN 2019-WTW-4554-OE,
ASN 2019-WTW-4555-OE, ASN 2019-WTW-4556-OE, ASN
2019-WTW-4557-OE, ASN 2019-WTW-4558-OE, ASN 2019-WTW-4559-OE,
ASN 2019-WTW-4560-OE, ASN 2019-WTW-4561-OE, ASN
2019-WTW-4562-OE, ASN 2019-WTW-4563-OE, ASN 2019-WTW-4564-OE,
ASN 2019-WTW-4565-OE, ASN 2019-WTW-4566-OE,
ASN 2019-WTW-4567-OE, ASN 2019-WTW-4568-OE, ASN
2019-WTW-4569-OE, ASN 2019-WTW-4570-OE, ASN 2019-WTW-4571-OE,
ASN 2019-WTW-4572-OE, ASN 2019-WTW-4573-OE, ASN
2019-WTW-4574-OE, ASN 2019-WTW-4575-OE, ASN 2019-WTW-4576-OE,
ASN 2019-WTW-4577-OE, ASN 2019-WTW-4578-OE,
ASN 2019-WTW-4579-OE, ASN 2019-WTW-4580-OE, ASN
2019-WTW-4585-OE, ASN 2019-WTW-4586-OE, ASN 2019-WTW-4587-OE,
ASN 2019-WTW-4588-OE, ASN 2019-WTW-4589-OE, ASN
2019-WTW-4590-OE, ASN 2019-WTW-4591-OE, and
ASN 2019-WTW-4592-OE
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FAA found that petition valid (2-ER-176-177), leading to the FAA’s review of the
objections it raised, the FAA determined the petition had merit (2-ER-173-175),
vacated its approval of the Project (id.), and ordered further examination of the
Project’s potential for harm to aviation safety to correct the incomplete reviews that
had led to the initial, ill-considered approval (id.).
      The second time, however, the FAA neglected to afford Petitioners notice of
the FAA’s public comment period even though they are well known to the FAA as
the parties who had successfully petitioned for administrative review of the FAA’s
initial Determination Letters and indeed, had caused those DNHs to be rescinded in
response to that petition. As a consequence, Petitioners were unaware of the
second comment period until after it had closed. See, Petitioners’ Motion to
Augment Agency Record filed July 13, 2022 (“Motion to Augment”), Exhibit 1.
Notwithstanding its failure to afford Petitioners notice of this second comment
period, the FAA proceeded to reapprove the Project on August 31, 2021. E.g., 2-
ER-101-114. Although Petitioners had previously submitted extensive comments
on the Project during the initial comment period in 2020, and timely filed an
administrative Petition for Review of the FAA’s August 31, 2021 approval of the
Project on September 30, 2021 (2-ER-4-99), on October 15, 2021 the FAA
declined to accept, let alone consider, their second petition, deeming it “invalid”
because Petitioners had failed to submit comments during the second comment
period (1-ER-2).
      Petitioners responded on October 25, 2021, explaining that they had not
received notice of the second comment period, and had previously submitted
comments during the original comment period in 2020. Motion to Augment,
Exhibit 1. Because the FAA had failed to afford Petitioners notice of the second
comment period, and the FAA had received Petitioners’ original comments on the

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same Project in 2020, Petitioners requested reconsideration of the FAA’s rejection
of their Petition for Review as invalid. Id. However, the FAA declined to do so.
Id. Exhibit 2.
        Having thus exhausted their administrative remedies, on December 14, 2021
Petitioners filed this Petition for Review. Petitioners ask this Court to set aside the
FAA’s determination that Petitioners’ administrative Petition for Review was
invalid, and direct the FAA to consider Petitioners’ petition, so that Petitioners’
concerns about this Project may be addressed.
                              STATEMENT OF FACTS
I.      AMONG THE WORLD’S TALLEST AT 586 FEET, THE 60 CAMPO
        WIND TURBINES WOULD EXTEND 10 MILES ATOP THE CREST
        OF THE COAST RANGE, POSING IMPACTS ON AVIATION
        SAFETY INCLUDING AERIAL FIREFIGHTING
        A.    THE FAA ADMITS THE PROJECT OBSTRUCTS NAVIGABLE
              AIRSPACE
        It is undisputed that the Project site lies directly beneath, and as approved,
the Project will directly obstruct, navigable airspace that is actively utilized for
military, commercial and private flights. The FAA approved the Project by issuing
72 virtually identical 14-page Determination Letters, one for each of the 72 turbine
towers that are proposed to be constructed and which have been assigned
individual Aeronautical Study Numbers (“ASNs”). E.g., 2-ER-101-114, 115-128,
129-142. Each of the 60 turbines that would be built would tower 586 feet above
ground level (“AGL”), reaching elevations from 3,992 (ASN 2019-WTW-4526) to
4,993 feet (ASN 2019-WTW-4580) above mean sea level (“AMSL”). E.g., 2-ER-
143-156, 157-170. Each of the DNHs admits the Project would obstruct air
navigation by exceeding the FAA’s adopted obstruction standards in the following
ways:



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      1. “All [of the] proposed structures would exceed [the 14 C.F.R. section
77.17(a)(1) Obstruction Standards] by 87 feet.”
      2. “The following ASN’s would [exceed the 14 C.F.R. section 77.17(a)(3)
height limit within a terminal obstruction clearance area by increasing] the
Southern California TRACON (SCT) [for] San Diego, CA SCT_MVA [minimum
vectoring altitude] . . . in Sector SCT124 from 5,200 feet AMSL to 5,300 feet
AMSL[:]
      2019-WTW-4520-OE
      2019-WTW-4521-OE
      2019-WTW-4522-OE
The following ASN would increase the SCT_MVA . . . in Sector ZZ from 5,800
AMSL to 5,900 feet AMSL[:]

      2019-WTW-4578-OE.”
      3. “[14 C.F.R. s]ection 77.29(a)(1): the impact on arrival, departure, and en
route procedures for aircraft operating under visual flight rules. At 586 feet, the
following structures would extend into airspace normally utilized for VFR [visual
flight rules] en route flight by 87 feet. The structures would be located within 2
statute miles of a VFR Route (Interstate 8, State Route 94, and a railroad track) as
defined by FAA Order 7400.2, paragraph 6-3-8 and would have an adverse effect
upon VFR air navigation[:]
      2019-WTW-4517-OE . . . 2019-WTW-4590-OE [listing 70 turbines in total]
      4. “[14 C.F.R.] [s]ection 77.29(a)(6): potential effect on ATC [air traffic
control] radar, direction finders, ATC tower line-of-sight visibility, and physical or
electromagnetic effects on air navigation, communication facilities, and other
surveillance systems. The following proposed wind turbines would be within the
radar line of sight (RLOS) of the San Clemente, CA (NDSD) ARSR-4 radar facility.


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They may affect the quality and/or availability of the NSD ARSR-4 radar facility.
The proposed wind turbines may cause unwanted primary returns (clutter) and
primary-only target drops in the immediate area of the turbines. Additionally,
tracked primary only returns could diverge from the aircraft path following the
turbines when aircraft are over or near the wind farm[:]
      2019-WTW-4520-OE
      2019-WTW-4524-OE
      2019-WTW-4550-OE
      2019-WTW-4551-OE”
E.g., 2-ER-9-11.
        The site is located in the Border Zone (E.g. 2-ER-114, 128) and is situated
between and in proximity to numerous military bases and air stations in California
vital to the nation’s defense, including the Naval Air Station in North Island, San
Diego, the Marine Corps Air Station in Miramar, San Diego, the Naval Air Facility
in El Centro, and the Naval Special Forces Training Facility in nearby Campo. 4-
ER-439-440. This same airspace is also in use by the Marine Corps Air Station in
Yuma, Arizona.1 The Project site is located within an active route between these
military bases and air stations (2-ER-5-7), and is regularly frequented by their low
flying aircraft, including military rotary aircraft (helicopters) that are particularly
sensitive to icing conditions encountered at the higher altitudes the Project might
force aircraft to use (2-ER-6).
      Non-military aircraft also utilize the air lanes that crisscross the Coast Range
in the vicinity of the Project, prompting the following concerns by at least one FAA
analyst familiar with the Project and its potential impacts both on aircraft flying
under visual flight rules and those operating under instrument flight rules:


1
 Military Base List, available at: https://www.military.com/base-guide, last
accessed January 8, 2020.
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            “Southern California TRACON (SCT) objects to the proposed wind
      farm as requested at Campo, CA – 19WTW-4517 thru 19-WTW-4592[:]

             [1.] New MVA [minimum vector altitude] in Sector SCT118 from
             6,000 feet AMSL to 6,100 feet AMSL.
             Significant impact. The loss of a cardinal altitude plus raising the
             altitude over a large area such as SCT118 would have a significant
             negative impact. This area is used extensively for vectoring arrivals to
             KSEE, KMYF, KSDM, KNZY, and KSAN.
             [2.] MEA - > Increases the MEA on V317 from JONDA to BROWS
             from 7,000 feet AMSL to 7,200 feet AMSL. The NEH is 5,000feet
             AMSL.
             Significant impact. This airway is commonly used, but more so during
             the winter months as a safe route for aircraft who cannot climb to
             higher altitudes due to icing conditions, this airway has the lowest
             MEA [minimum en route altitude] for crossing the mountains to the
             east. The aircraft that use this are General Aviation fixed wing
             aircraft from all the San Diego area airports, and military rotary
             aircraft (who are very ice sensitive) from MCAS Miramar and NAS
             North Island. The loss of the 7,000 feet MEA would be significant as it
             forces all along the route to 8,000 feet MSL and higher.
             [3.] MIA - > Increases the MIA for Los Angeles ARTCC (ZLA);
             ZLA_TAV_2018_V1 in LAN15 from 7,000 feet AMSL to 7,100 feet
             AMSL.
             Significant impact. This would eliminate the use of a cardinal altitude
             for vectoring between Southern California TRACON and Los Angeles
             Center (See previous rationale) Additionally it appears that this MIA
             accommodates vectoring in and around the El Centro, CA area, which
             I would presume would have a negative impact on ZLA’s operations
             in that area.
             If this project is approved it will have a significant negative effect on
             operations in the target area.”
4-ER-438-440.
      The FAA’s Agency Record contains cryptic passages revealing that the
Project proponent engaged in undisclosed communications with the FAA,
apparently assuring the FAA that concerns about the Project had been or would be
addressed, but these passages omit the proponent’s communications, and the
FAA’s responses to them. E.g., 4-ER-430-436 (comment from FAA official Bill
Keifer to FAA analyst Ed Snow dated March 24, 2020 that “[t]he sponsor for this
wind project agreed to terminate the turbines that would create the loss of cardinal

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altitude”). The Agency Record does not disclose the specific mitigation measures
proposed by the Project proponent, nor address their efficacy. Nor does it
demonstrate that these possible mitigation measures were in fact imposed as
enforceable conditions of approval by the FAA or some other agency with
jurisdiction over the Project.
      B.     THE FAA DISMISSES THE PROJECT’S SIGNIFICANT
             ADVERSE IMPACTS ON ARBITRARY GROUNDS.
      The FAA is required by statute and regulation to protect the public,
including those whose aircraft fly by “Visual Flight Rules,” or “VFR,” and those
who fly by Instrument Flight Rules, or “IFR.” 49 U.S.C. § 44718(b);14 C.F.R. Part
77; Town of Barnstable, Mass. v. FAA, 740 F.3d 681 (D.C.Cir. 2014). The Project
is sited between several airports used by general aviation pilots flying under VFR,
including Montgomery Field, Gillespie Field, Lindbergh Field and Jacumba
Airport in San Diego County, Imperial County Airport, and Yuma Airport in
Arizona. 2-ER-172. The FAA’s Determination Letters acknowledge that the
proposed “structures would be located within the altitudes commonly used for en
route VFR flight.” E.g., 2-ER-111. Indeed, flights from Montgomery or
Lindbergh fields to Yuma would likely pass directly over the Project. 2-ER-172.
Yet the Determination Letters state that “the proposed wind farm would not affect a
significant volume of aircraft.” 2-ER-111.
      It is apparent the Determination Letters’ conclusions conflict with the
evidence. E.g., 2-ER-111. The documentation in the FAA’s files shows, contrary
to the Determination Letters, that the Project is located directly within a regularly,
and continuously, used VFR en-route flyway. 2-ER-172. The FAA’s Handbook
states “[a] structure would have an adverse effect upon VFR air navigation if its
height is greater than 499 feet above the surface at its site, and within 2 statute


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miles of any regularly used VFR route.” Procedures for Handling Airspace
Matters, FAA Order JO 7400.2M (February 28, 2019), Paragraph 6-3-8(c)(1).
      The Project meets these criteria. As the Determination Letters admit, the
VFR route over the Project may be used daily. E.g., 2-ER-111, 125, 139. The wind
turbines exceed 499 feet, and the Project site is located within a well known and
frequently used VFR route. E.g., 2-ER-101, 106, 111, 115, 1120, 128, 129, 134,
142. FAA policy dictates that any structure that “exceeds the obstruction standards”
as these do, “has an adverse effect if it would: . . . Require a VFR operation to
change its regular flight course or altitude.” FAA Order JO 7400.2M, Paragraph
6-3-3(b)). Here, the FAA’s own reviews confirm that the turbines will require
altitude changes during VFR operations. E.g., 2-ER-111, 128, 142. Therefore, this
Project has an adverse effect.
      The FAA cites its internal policy’s definition of “significant volume” to
justify dismissal of these significant adverse effects. Each Determination Letter
issued by the FAA concludes that, although
      “the structures would be located within the altitudes commonly used for en
      route VFR flight, . . . an average of less than one VFR aircraft per day may
      be affected by the proposed wind farm. In accordance with FAA Order
      7400.2, the proposed wind farm would not affect a significant volume of
      aircraft and therefore, it is determined they will not have a substantial
      adverse effect on en route VFR flight operations.”

2-ER-111 (emphasis added), citing FAA Order [JO]7400.2L, Paragraph 6-3-5.2 JO
7400.2M, Paragraph 6-3-4 defines “regular and continuing” operations as “one or
more operations” a day. But this policy also notes that if the impacted procedure is




2
 The Determination Letters rely upon JO 7400.2L, which was withdrawn in
February 2019. JO 7400.2N, the applicable current verison, contains the same
policies as they relate to this issue.
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the primary procedure, it may need to be used on average only once per week to
cause a significant impact on aeronautical activities:
       “However, an affected instrument procedure or minimum altitude may need
      to be used only an average of once a week to be considered significant if the
      procedure is one which serves as the primary procedure under certain
      conditions.”
JO 7400.2N, Paragraph 6-3-4. Here, as discussed above, minimum altitudes serve
as a primary procedure for numerous aircraft, particularly during the winter when
icing is a greater concern, and therefore, flight frequency need not be once a day to
be considered significant. 2-ER-111; 4-ER-438-440; FAA Order JO 7400.2M,
Paragraphs 6-3-3(b) and 6-3-4. Here, the impact is significant, hazardous, and
potentially severe.
      The FAA’s Determination Letters do not address all the hazards identified by
its Divisions. For example, for all but three of the towers, on March 11, 2021 FAA
Flight Standards analyst Roland McKee issued a “Safety advisory” that warned of
the
      “potential hazard created by the adverse effect on VFR navigation: The
      Structures of this project lie within 2SM [statute miles] of Interstate 8, State
      Route 94, and railroad tracks which is a navigable surface feature that meets
      the definition of a VFR route per FAA Order JO 7400.2M, chap. 6, sec. 3,
      par. 6-3-8(b)(8) & associated Fig. 6-3-8. At its proposed location and height
      (AGL), the structure will have an adverse effect upon VFR pilotage
      navigation, especially during periods of ceiling and visibility conditions at or
      near the minimum allowed for VFR flight. If the OEG [Obstruction
      Evaluation Group] in consultation with Flight Standards determines that there
      is a significant volume of aircraft using the VFR Route, then the proposed
      wind turbines within 2 SM of the affected VFR Route will cause a
      substantial adverse effect. The proposed wind turbines would then need to be
      moved to an alternate location more than 2 SM from any VFR route, or
      lowered to a maximum height of 499 feet AGL or less at its currently
      proposed location.”
E.g. 6-ER-1112-1113, 1115-1117 (emphasis added) (same statement made for all
towers except 4571, 4591, and 4592). The only reason the FAA ultimately allowed
this Project was that the number of flights currently impacted averaged less than 30


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per month and therefore the admitted “adverse effect” was not “substantial,” an
arbitrary criterion that is subject to exceptions applicable here, as discussed above.
JO 7400.2N, Paragraph 6-3-4.
      These concerns are heightened because (1), the number of flights using local
airports varies seasonally, and thus exceeds the 30 flights-per-month criterion in
some months, and (2), the local Jacumba Airport, which is less than 10 nautical
miles from the Project location, is primarily used for low-altitude flying for
recreational purposes, including sailplanes and gliders, whose use is not subject to
the minimum altitudes and for which the Project poses admitted “adverse effects.”3
3-ER-183.
      The Determination Letters ignore this primary use in evaluating the Project’s
significant impacts. And the FAA’s reasoning for ignoring these impacts – that
these operations “are not regular and continuous” – ignores the forest for the trees.
This reasoning is contrary to the purposes of FAA regulations and policies.
      These gigantic structures exceed the FAA height limitation of 499 feet by 87
feet (eight stories). 2-ER-106; 6-ER-1118. And, because they would be atop the
crest of the Coast Range, they would also increase the minimum safe east-west
flight path over those mountains. 4-ER-449. This would force aircraft to fly
substantially higher, in some cases by a cardinal, or 1000-foot, increase in elevation.
E.g. 2-ER-106. This would, according to FAA analysis, cause a “significant
negative impact” that would expose these aircraft to dangerous wing and rotor blade
icing. 4-ER-438.
3
  See, e.g., FAA Notice to Airmen “Frq Gld Act Drg Wkends, Pwrd Acft be Alert
for Gld Tfc Launching Frm Field and Operg on and in Vcnty of Ap, Sfc to 18000
Ft MSL.,” see also Aircraft Owners and Pilots Association webpage for Jacumba
Airport: available at https://www.aopa.org/destinations/airports/L78/details; New
Desert Times, Towns of Yesteryear, available at:
http://newdeserttimes.com/the-towns-of-yesteryear/)
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      For this and other reasons, the FAA’s Southern California TRACON, or
Terminal Radar Approach Control Facilities, initially “object[ed] to the proposed
[Campo] wind farm.” 4-ER-437-445. While the FAA apparently concluded that
removal of some towers would mitigate this hazard, the FAA’s Determination
Letters do not address this hazard nor how it would be mitigated – along with other
hazards discussed below – and thus fail to show the public that this Project poses no
hazards to aircraft safety or operations.
      These impacts pose greater hazards in the winter months. As FAA
correspondence admits, “[t]his airway is commonly used, but more so during the
winter months as a safe route for aircraft who cannot climb to higher altitudes due to
icing conditions, this airway has the lowest MEA [minimum en route altitude] for
crossing the mountains to the east.” 4-ER-439. Removing the ability to utilize this
route will force aircraft to fly at higher altitudes and due to icing hazards in winter
months, unsafe conditions. Id. As FAA staff has acknowledged, “[i]f this project is
approved it will have a significant negative effect on operations in the target area.”
4-ER-440. These impacts must be addressed and again, the risks from these
massive structures should be given the greatest possible consideration due to the
severity – loss of life – of the potential impacts.
      The Project’s aviation hazards include impairment of aerial firefighting. The
United States Department of the Interior’s Bureau of Indian Affairs (“BIA”)
premised its approval of the Project on the assumption it “would comply with any
applicable Federal Aviation Administration (FAA) requirements to ensure that
FAA, military, and emergency responders navigate the area safely.” 2-ER-13
(quoting from the BIA’s Final Environmental Impact Statement on the Project
(“FEIS”) at RTC-206 (emphasis added)). Notably, the BIA did not consider how it
would impair aerial firefighting and other emergency response because it assumed –

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incorrectly – that the FAA would perform that essential review and require the
Project’s compliance with “any applicable” FAA requirements. Id. But as noted
above, the FAA refused to examine the impact of the Project on aerial firefighting
on the grounds “[e]mergency flight operations are not considered when determining
the extent of adverse aeronautical effect because they are not considered regular and
continuing and it is not possible to predict when or where an emergency operation
would be conducted.” 2-ER-110.
      The FAA ignored other known hazards to aviation safety caused by wind
turbines. For example, at dawn and dusk the Project’s spinning wind turbines
produce disorienting, disco-like “shadow flicker” when viewed from locations that
look through the 460-foot wide arc of the 230-foot-long blades toward the rising or
setting sun. 2-ER-24-26. The flickering effect moves across the terrain (much like
a shadow moves with the sun) and lasts for up to 30 minutes at any particular
location, depending on the time of year (and thus the angle and duration of the sun’s
passage behind the turbine blades), as the sun passes through the plane of the
spinning blades. Id.
      Here, that disorienting effect would be repeated scores of times each morning
and each evening up and down the spine of the Coast Range as the sun passes
through the 460-foot arcs of some 60 different wind turbines stretching 10 miles
along the mountains’ crest. Id; 6-ER-1118. The resulting impact on pilots
approaching the crest from the west (and thus looking directly into the rising sun) in
the morning or from the east (and thus looking directly into the setting sun) in the
evening would pose a significant hazard to aviation safety. Id. The FAA’s
Determination Letters never address this hazard, even though Petitioners twice
brought this problem to the FAA’s attention by raising it in their administrative
Petitions for Review. 2-ER-24-26; 3-ER-202-203. Instead, the FAA just ignored

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the problem. But ignoring the problem does not make it go away. Instead, it just
makes the problem worse.
      II.    PETITIONERS RAISED SERIOUS CONCERNS ABOUT
             THE PROJECT’S IMPACTS ON AVIATION SAFETY
      The Agency Record reveals that many of Petitioners’ concerns were brushed
aside as irrelevant or beyond the scope of the FAA’s approval authority, leaving
unanswered whether the legitimate safety issues raised by the public would ever be
addressed by any reviewing agency, let alone in a manner that would allow for
informed public review and comment. For example, the public raised the following
concerns that the FAA dismissed from consideration:
      1. The obstruction lighting is insufficient to mitigate the collision hazard.
      The public commented:
      “The installation of obstruction lighting on the wind turbines alone will not
      mitigate the unacceptable hazard to aviation safety. Standard FAA lighting
      are [sic] ineffective for military and air ambulance pilots using night vision
      goggles (NVG). The turbine blade tip would be 230 feet above the
      obstruction light located on top of the nacelle creating a hazard for low-flying
      aircraft.”
E.g., 2-ER-109.
      The FAA dismissed this concern on the principal grounds that
      “The current guidance recommends placing the obstruction lighting as high as
      possible on the turbine’s nacelle so they are visible to pilots approaching the
      turbine from any direction. Studies have shown that red obstruction lights
      provide the most conspicuity to pilots.”
Id. The FAA’s response overlooks the commenter’s primary point, which is that the
nacelle – and therefore its red light – are 230 feet (about 20 stories) below the tip of
the rotor blade, and thus ineffective to warn the pilot of the presence of the blade,
which is invisible at night, hundreds of feet above. At 12 revolutions per minute a
230-foot blade tip travels at nearly 200 miles per hour.4

4
 Multiplying the blade sweep’s 460 foot diameter by pi yields a 1,445-foot
circumference; multiplying by twelve yields 17,340 feet traveled in one minute;
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      The FAA’s response asserts that if a red light is placed “as high as possible”
on the nacelle it would be “visible to pilots approaching the turbine from any
direction.” Id. Not so. The nacelle is the tip of the horizontal rotor around which
the vertically-mounted turbine blades spin and thus is 230 feet , or twenty stories,
below the tip of the rotor blades. A single red light hundreds of feet below the
obstruction does not alert the pilot to the obstruction’s location. The presence of
fog, clouds, rain or snow would just make this hidden hazard that much worse.
And, a red light on the nacelle would not be visible to a pilot approaching the
turbine from the opposite side of the turbine tower.
      2. The increase in altitude over mountainous terrain will create a hazard to
         aviation.
      The public commented:
      “Between 2003 and 2016, ten individuals were killed in the United States as a
      result of aircraft collisions with wind turbines and their towers. . . . . Aircraft
      are often observed in the area of the proposed wind farm flying at ‘very low
      altitudes’. The increase in altitude over mountainous terrain would create a
      hazard to aviation.” Id.
      The FAA discounted this concern on the grounds that
      “[a]ircraft operating at ‘very low altitudes’ would be below the minimum safe
      altitudes specified in 14 CFR Part 91. Flight operations such as agricultural,
      land surveys, law enforcement, etc. are not regular and continuous flight
      operations and therefore are not considered in determining the extent of
      adverse effect under 14 CFR Part 77 aeronautical studies.”
2-ER-109 (emphasis added). The FAA’s decision to “not consider” the frequent
low-altitude flights in the Project’s vicinity is a blueprint for avoidable aircraft
collisions. Petitioners should be heard on this public safety issue.
      3. The Project would increase the minimum en route altitude over the Coast
         Range by 200 feet, from 7,000 feet to 7,200 feet.
      The public commented:


multiplying by 60 yields 1,040,400 feet traveled in one hour; dividing 1,040,400
by 5,280 feet per mile yields 197 mph.
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      “At a height of 586 feet tall, the turbines exceed 14 CFR Part 77 by 87 feet; a
      height greater than 499 feet AGL. The proposal would increase the minimum
      en route altitude (MEA) and the minimum obstruction clearance altitude
      (MOCA) from 7,000 feet to 7,200 feet.”
2-ER-109.
      The FAA dismissed this concern as well, stating:
      “Although the proposed structures exceed 14 CFR Part 77 obstruction
      standards, it does not necessarily constitute a hazard to aviation. . . . After
      further study of the proposal by the responsible Air Traffic facilities and
      negotiation with the project sponsor, the sponsor agreed to terminate the
      affected ASNs, therefore eliminating the MOCA and MEA increases. The
      proposal would cause the MVA [minimum vector altitude] increase for SCT
      as identified above. MVAs are solely used by ATC, not published for public
      use and therefore not circulated for public comment. A review by the
      controlling facility determined that increasing the altitude in the sector would
      ensure the required obstacle clearance is maintained and therefore would not
      have a substantial adverse effect on Air Traffic operations.”
2-ER-109 (emphasis added).
      But the FAA’s response fails to identify the specific ASNs “the sponsor
agreed to terminate,” let alone confirm how this restriction would be enforced,
leaving the public in the dark. Moreover, in the same breath the FAA admits the
minimum vector altitude would be increased to accommodate the Project,
notwithstanding the FAA’s air traffic controllers’ warning that increasing the
minimum altitudes in which aircraft operate impairs aircraft safety by forcing
aircraft to higher altitudes and thus colder air where icing is more likely. E.g., 2-
ER-6; 4-ER-438-440.
      The FAA’s refusal to allow Petitioners to file an administrative petition to
raise this important safety issue harms the public. The public will bear the risk that
60 wind towers placed atop the Coast Range in active aviation lanes will threaten
their safety. They are entitled to be heard.
      5. The Project would place four wind turbines within the Radar Line of
         Sight (“RLOS”) and otherwise degrade radar safety systems:
      The public commented:

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      “The wind turbines will have an adverse impact on Radar systems by causing
      false targets, false returns, clutter and/or dropped targets. The degraded
      Radar coverage poses a severe aviation hazard due to the weather patterns
      over mountainous terrain.”
2-ER-110 (emphasis added).
      The FAA admitted these impacts, but nonetheless discounted them:
      “The aeronautical study identified 4 turbines as being within the Radar Line
      of Sight (RLOS) of the San Clemente, CA (NSD) ARSR-4 radar facility.
      Impacts to radar facilities are not circularized to the public for comments as
      they only require review by the military services and responsible Air Traffic
      Control (ATC) facility. Further review determined this would not cause an
      unacceptable adverse impact on ATC or military operations in the area of the
      turbines at this time.
2-ER-110. The FAA did not deny the Project would “cause[] false targets, false
returns, clutter and/or dropped targets,” impairing aviation safety, because its
Technical Operations Division had found, in a report not publicly disclosed, that
four turbines (ASN 4520, 4524, 4550 and 4551) would degrade radar function:
      “The proposal has a physical and/or electromagnetic radiation effect upon the
      NSD (ARSR-4) radar facility(s). The proposal will affect the quality and/or
      availability of NSD (ARSR-4) radar signal(s). Further study is necessary to
      fully determine the extent of the effect. The effect can be eliminated by
      lowering the proposal [i.e., lowering the turbines] to NEH AMSL (ft) of 4052
      AMSL (ft). The effects, their locations, and the facilities affected are: - Radar
      Facility: NSD (ARSR-4) Effects: 1) Unwanted primary-only returns (clutter)
      and primary-only target drops, all in the immediate area of the turbines. 2)
      Tracked primary-only targets could diverge from the aircraft path and follow
      wind turbines, when the aircraft is over or near the turbines. Note: that the
      turbines with RLOS covers a small localized area (only 4 turbines). This
      should be considered when determining operational impact. Facilities
      affected: The NSD ARSR-4 radar facility feeds the ERAM automation system
      at San Diego, CA (SCT) Air Route Traffic Control Center (ARTCC) facility,
      and Los Angeles, CA (ZLA) Air Route Traffic Control Center (ARTCC)
      facility.”

6-ER-1113 (emphasis added) (see same for 6-ER-1115-1117). The FAA never told
the public why these serious degradations to its radar safety are not an
“unacceptable adverse impact” on air traffic control. Petitioners should be heard
regarding these threats to their safety, rather than relegated to mute bystanders.


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      6. The turbulence generated by spinning turbines creates a hazard for
      aircraft.
      The public commented:
      “The turbulence generated by the wind turbines create[s] a hazard for
      aircraft.”
2-ER-110.
      The FAA dismissed this concern, stating:
      “The effects of wind turbine vortex, vortices, turbulence or severe weather
      phenomenon is beyond the scope of 14 CFR Part 77 and therefore was not
      considered during the aeronautical study.”
2-ER-110 (emphasis added). Since these effects of wind turbine operation impact
aviation safety, there is no reason the FAA should ignore them. If the FAA’s
decision to ignore these effects is due to its regulatory omission, then that omission
should be discussed rather than preemptively deemed off-limits to the public whose
safety is jeopardized by the FAA’s refusal to examine these effects.
      7. High voltage wind turbines cause wildfires.
      The public commented:
      “High voltage wind turbines have a history of erupting into flames when the
      motors burn out, which increases the risk of wildfires. The wind turbines will
      pose a hazard to emergency services such as medical flights and firefighting.
      The turbines will impede low-level flight required for air tank[er] drops and
      smokejumpers which will interfere with firefighting safety and effectiveness.”
2-ER-110 (emphasis added).
      The FAA refused to consider these impacts, stating:
      “Emergency flight operations are not considered when determining the extent
      of adverse aeronautical effect because they are not considered regular and
      continuing and it is not possible to predict when or where an emergency
      operation would be conducted. . . . Wildfires and the effects of their
      associated smoke plumes are beyond the scope of an aeronautical study
      conducted under 14 CFR Part 77.”
Id. (emphasis added). The FAA’s categorical refusal to consider the risk to aviation
safety caused by wind turbine fires is akin to not building fire stations because fires


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are not “regular and continuing” and it is “not possible to predict when or where an
emergency operation would be conducted.” Id. The point of aviation safety
reviews is to identify hazards and ways to mitigate or avoid them, not disregard
hazards just because their occurrences and locations cannot be precisely predicted.
Particularly where, as here, it is known that wind turbines cause wildfires – and
pose risks to aerial firefighting because they impede low-flying deliveries of aerial
retardant – it is incumbent on the FAA to examine those risks, not ignore them.
      Petitioners did their level best to persuade the FAA to do its job. They
submitted extensive comments in good faith to alert the FAA to the aviation safety
issues posed by the Project. 4-ER-444-643; 5-ER-645-782, 783-927; 6-ER-929-
1111. Petitioners have worked many decades to protect the health, safety and
environmental quality of the rural communities the Project would impact. 2-ER-6-7;
4-ER-447. From the vantage point of her adjacent ranch, Petitioner Ms. Tisdale
regularly observes both fixed wing and rotary aircraft operated by the military and
Homeland Security, as well as commercial and private aircraft, flying low over the
Project site. 2-ER-6-7. These aircraft often pass directly over the Project site at
very low altitudes. Id. (illustrative photographs by Ms. Tisdale of low-flying
aircraft she routinely observes over the Project site).
      As discussed, the FAA acknowledged the validity of Petitioners’ previous
administrative Petition for Review. 3-ER-179-412. That petition identified
numerous aviation hazards from the Project’s 60 massive turbines. Id. The FAA’s
December 2, 2020 ruling granting that petition confirmed its review had been
incomplete. 2-ER-176-177. Its remand for further review (2-ER-173-174),
however, did not address many grave issues of public safety. Because those issues
remain, they still need to be addressed by the FAA on this Court’s remand.



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III.   THE FAA GRANTED PETITIONERS’ FIRST
       ADMINISTRATIVE PETITION FOR REVIEW IN 2021

       The determinations for the 72 turbines were originally issued on July 16,
2020. E.g. 4-ER-414-421, 422-429. However, on August 17, 2020 Petitioners
challenged the DNHs in a 234-page Petition for Review. 3-ER-179-412. In
response, the FAA’s reviewing official found significant errors in the DNHs. 2-ER-
173-174. In his decision issued December 2, 2020, George Gonzales, Acting
Manager, Rules and Regulations, found the following:
       “Our examination of the issued determination and petition revealed that the
       Obstruction Evaluation Group (OEG) did not follow established process and
       procedures during the aeronautical studies. FAA Order 7400.2, Procedures
       for Handling Airspace Matters, paragraph 6-3-8 provides guidance on
       evaluating effect on VFR operations. Paragraph 6-3-8 b 8 states, in part,
       "pilots operating VFR frequently fly routes that follow rivers, coastlines,
       mountain passes, valleys, and similar types of natural landmarks or major
       highways, railroads, power lines, canals, and other manmade structures." The
       project is situated directly between several airports used by general aviation
       aircraft, yet the determination states, "no data was available or received
       during the aeronautical study to indicate the wind farm would be located
       near a regularly and continuously used VFR en-route VFR flyway". There is
       no data in the case file to support any type of query into VFR flight with the
       air traffic facility, through radar data analysis, or with outside entities.
       Absent any type of documentation to support this finding, we dispute any
       claim that there is no data available within or outside of the FAA concerning
       VFR flight.
       Paragraph 6-3-17 provides guidance for circularization. Paragraph [6-3-17(c)]
       states, in part, public notices should be distributed to those who can provide
       information needed to assist in evaluating the aeronautical effect of the
       structure. As a minimum, the following governmental agencies, organizations,
       and individuals should be included on distribution lists due to their inherent
       aeronautical interests: ‘All known aviation interested persons and groups such
       as state, city, and local aviation authorities; airport authorities; various
       military organizations within the DOD; flying clubs; national, state, and local
       aviation organizations; flight schools; fixed base operators; air taxi, charter
       flight offices; and other organizations or individuals that demonstrate a
       specific aeronautical interest such as county judges and city mayors.’ We
       could not find any distribution to many of the entities listed above, including
       flying clubs, flight schools, or local aviation organizations.
       With this in mind, please take the following actions:



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             • Rescind the issued determinations for 2019-WTW-4517 through
             4592-OE.
             • Initiate a new public notice with dissemination to all entities listed in
             FAAO 7400.2, paragraph [6-3-17(c)].
             • Restudy the proposal with any new comments.

             • Contact the local air traffic facilities for feedback concerning VFR
             flyways and operations in the vicinity of the proposed wind farm. Air
             traffic facilities can provide traffic counts and radar data to evaluate
             VFR traffic in the area of the planned construction.
             • Ensure that all coordination and analyses are uploaded into the
             aeronautical study files.”
2-ER-173-174 (emphasis added).
IV.   THE FAA ERRONEOUSLY EXCLUDED PETITIONERS
      FROM ITS SECOND PUBLIC REVIEW PROCESS
      Because the “FAA did not ensure the public circularization notice was issued
in accordance with FAA Order 7400.2 and also did not adequately validate en route
VFR traffic counts,” the FAA circularized notice of the Project again on April 7,
2021– but did not include Petitioners among those receiving the notice. Motion to
Augment, Exhibit 1.
      Despite the Project’s risks to aviation safety, the FAA once again issued
blanket Determination Letters that again declared there would be no “substantial
adverse effect on the safe and efficient utilization of the navigable airspace . . . and
would not be a hazard to air navigation,” in reliance upon analyses and responses to
comments that are identical in each letter. E.g., 2-ER-110-111.
      But as discussed above, the evidence before the FAA shows that the Project
poses significant hazards to aviation, including obstructions to VFR air lanes
particularly in low-ceiling situations, degraded radar, turbulence from the turbine
vortices, increases in en route altitudes subject to dangerous icing hazards, impeded
aerial firefighting, and other impacts the FAA never analyzed. Had the FAA

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accepted and considered Petitioners’ administrative Petition for Review, then the
FAA would have had to address these Project impacts. For the reasons detailed
below, this Petition for Review should be granted and the FAA directed to accept
and consider Petitioners’ administrative Petition for Review, and address the serious
safety concerns it raises.
V.    THE FAA ERRONEOUSLY REJECTED PETITIONERS’
      REQUEST THAT IT EITHER REOPEN ITS SECOND
      COMMENT PERIOD AND ALLOW THEIR COMMENTS, OR
      ALLOW THEIR ADMINISTRATIVE PETITION FOR REVIEW
      The FAA rejected Petitioners’ September 20, 2021 administrative Petition for
Review on the sole grounds that, notwithstanding Petitioners’ submission on
January 30, 2020 of a 666-page set of detailed comments on the Project during the
FAA’s original comment period (4-ER-444-643, 5-ER-645-782 (comments and
Exhibit 1); 5-ER-783-927, 6-ER-929-1111 (Exhibits 2-8)); and Petitioners’
submission of a 234-page administrative Petition for Review of the FAA’s original
Determination Letters on August 17, 2020 (3-ER-179-412), Petitioners did not
submit a second, separate set of comments during the FAA’s second comment
period. 1-ER-2 (Notice of Invalid Petition Received, dated October 15, 2021).
      The reason Petitioners did not submit a second round of comments, however,
is that the FAA failed to afford Petitioners notice of that comment period. Motion
to Augment, Exhibit 1. The FAA’s Agency Record contains no record of the FAA’s
transmittal of any notice to Petitioners of this second comment period because
notice was never provided.
      Consequently, promptly after receiving the FAA’s Notice of Invalid Petition
Received, on October 25, 2021 Petitioners wrote to the FAA advising that
Petitioners had not been given notice of the FAA’s second comment period, and
requesting reconsideration of the FAA’s refusal to consider Petitioners’ September


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30, 2021 Petition for Review. 2-ER-4-99; Motion to Augment, Exhibit 1.
Petitioners stated:
             “We received your October 15, 2021 Notice of Invalid Petition
      Received, dismissing our September 30, 2021 Petition for Review by
      Backcountry Against Dumps, Donna Tisdale, and Joe “Ed” Tisdale Regarding
      No Hazard to Air Navigation Determinations for 72 Turbines Associated with
      the Campo Wind Project. After review, we believe that the Notice of Invalid
      Petition is incorrect. Neither our office nor our client received notice of the
      aeronautical study, as required under FAA Order 7400.2. Therefore, we were
      never afforded an opportunity to comment on the study. Pursuant to Code of
      Federal Regulations, title 14, part 77.37(a), ‘any person who has a substantial
      aeronautical objection to [proposed construction] but was not given the
      opportunity to state it, may petition the Administrator within 30 days after the
      issuance of the determination.’
            Please provide information on the procedures for appealing your
      October 15, 2021 Notice of Invalid Petition to our office at the above address.
      Alternatively, please rescind the October 15, 2021 Notice of Invalid Petition
      and proceed with discretionary review of the FAA’s Determination of No
      Hazard, pursuant to Code of Federal Regulations, title 14, parts 77.37 and
      77.41. Please also acknowledge receipt of this letter and advise of your
      decision on our request.”
Id.
      On October 26, 2021, the FAA responded by reiterating its previous claim
that Petitioners’ Petition for Review was invalid and refusing to reconsider its
decision:

            “Thank you for your letter. The FAA reviewed the subject aeronautical
      studies and petition in accordance with Title 14 Code of Federal Regulations,
      part 77 and affirmed your petition is invalid because no comments were
      submitted during the public comment period. There are no further actions the
      FAA can take under part 77.
             Be advised that 49 United States Code, Section 46110. Judicial review,
      allows for review of the order by filing a petition for review in the United
      States Court of Appeals for the District of Columbia Circuit or in the Court of
      Appeals of the United States for the circuit in which the person resides or has
      its principal place of business. The petition must be filed no later than 60 days
      after the order is issued.”
Motion to Augment, Exhibit 2 (emphasis added).
      Consequently, Petitioners were never afforded an opportunity to comment on
the FAA’s aeronautical study, notwithstanding its obvious significance to them.

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Since the FAA refused to reopen its internal review and allow Petitioners to proceed
with their petition, Petitioners were left no choice but to seek this Court’s review.
      The FAA’s failure to afford Petitioners the opportunity to review and
comment on the aeronautical study on which its Determination Letters were based
conflicts with the criteria set forth in the FAA’s governing regulation, FAA Order
7400.2. Petitioners explained to the FAA that under its own controlling guidance,
Petitioners were entitled to notice of and the opportunity to comment on the FAA’s
aeronautical study of the Project’s potential hazard to aviation safety. As Petitioners
noted in their email to the FAA, Motion to Augment at Exhibit 1, FAA Order
7400.2, subpart 6-3-17(c), provides as follows:
      “As a minimum, the following governmental agencies, organizations,
      and individuals should be included on distribution lists [for public
      notices of aeronautical determinations] due to their inherent
      aeronautical interests: . . . As appropriate, state and local authorities;
      civic groups; organizations; and individuals who do not have an
      aeronautical interest, but may become involved in specific
      aeronautical cases, must be included in the notice distribution, and
      given supplemental notice of actions and proceedings on a case-by-
      case basis. Those involved should clearly understand that the public
      notice is to solicit aeronautical comments concerning the physical
      effect of the structure on the safe and efficient use of airspace by
      aircraft.”
Id. (emphasis added). Confirming the importance of identifying persons with the
requisite interests entitling them to notice, subsection (d) further requires the FAA
to “[d]ocument and place in the obstruction evaluation file the names of each person
and/or organizations to which public notice was sent.” FAA Order 7400.2,
paragraph 6-3-17(d).
      Having submitted a lengthy and detailed comment on the FAA’s original
aviation obstruction analysis for the Project in 2020, Petitioners clearly
demonstrated they were deeply “involved in [this] specific aeronautical case[],” and
thus under the FAA’s own regulation governing public notice, entitled to be


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“included in the [FAA] notice distribution.” Id.
      Any lingering doubt about Petitioners’ intense interest in this “specific
aeronautical case” sufficient to entitle them to notice of the FAA’s further
aeronautical reviews was surely dispelled when Petitioners followed up their
previous detailed comments on this Project with their equally detailed, 234-page
administrative Petition for Review on August 17, 2020. 3-ER-179-412. The FAA
acknowledged the procedural propriety of this Petition when, after scrutiny, the
FAA’s reviewing office declared it to be “valid.” 2-ER-176-177.
      The substantive as well as procedural merit of Petitioners’ administrative
Petition for Review was confirmed on December 2, 2020, when as noted, the FAA
granted Petitioners’ previous administrative Petition for Review. 2-ER-175. As
detailed above, the FAA Rules and Regulations Manager directed the FAA to
rescind its initial determination that this Project posed no hazard to aviation, citing a
host of procedural and substantive defects in the FAA’s initial determination. 2-
ER-173-174.
      Thus, under the facts documented in the FAA’s own records of its review in
this case, Petitioners unquestionably qualified as a “civic group[]; organization[];
and individuals” who “must be included in the notice distribution” of the FAA’s
aeronautical studies because they had demonstrated not just once, but repeatedly,
that they were acutely interested in and thus “may become involved in” this
“specific aeronautical case[].” FAA Order 7400.2, subpart 6-3-17(c).
      The FAA’s governing regulation, 14 C.F.R. § 77.31(a), imposes an even
broader and more inclusive duty to afford notice and an opportunity for public
comment on FAA aeronautical studies of the potential aviation hazards posed by
obstacles to navigation such as the Project. Section 77.31(a) requires the FAA to
provide notice of its aeronautical studies concerning the potential hazards posed by

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proposed projects to “all known interested persons.” Petitioners plainly qualify as
“known interested persons” by dint of their submission of highly detailed and
carefully researched comments on the Project on January 30, 2020. 4-ER-444-643;
5-ER-645-782. As noted, Petitioners reconfirmed their deep and abiding interest in
the FAA’s review of this Project by submitting their lengthy first administrative
Petition for Review on August 17, 2020. 3-ER-179-412.
      Likewise, 14 C.F.R.§ 77.37(a) provides that “any person who has a
substantial aeronautical objection to [proposed construction] but was not given the
opportunity to state it, may petition the Administrator within 30 days after the
issuance of the determination.” Id. (emphasis added).
      Notwithstanding Petitioners’ prompt submission of their administrative
Petition for Review in full compliance with section 77.37(a), the FAA refused to
abide by its own prescribed review procedure, leaving Petitioners no option but to
seek this Court’s review and intervention.

                          SUMMARY OF ARGUMENT
      This Petition for Review asks this Court to rule that:
      1.     The FAA had a duty to provide Petitioners notice of the FAA’s second
             comment period and failed to provide that required notice, violating its
             duty to do so; and
      2.     The FAA had a duty to accept Petitioners’ timely administrative
             Petition for Review and yet refused to do so, violating its duty to
             accept, review and take action on that petition.
                            STANDARD OF REVIEW
      This Court’s standard of review is twofold. First, on questions posing purely
or predominantly legal issues, this Court must exercise its independent judgment, as


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the review is de novo. Torres-Lopez v. May, 111 F.3d 633, 638 (9th Cir. 1997); 5
U.S.C. § 706(2)(A)-(D). Second, on questions of fact, the standard of review is
whether the agency’s rulings are “clear error.” Husain v. Olympic Airways, 316
F.3d 829, 835 (9th Cir. 2002), aff’d, 540 U.S. 644, 124 S.Ct. 1221 (2004).
      A question of law is presented as to whether the FAA correctly applied the
laws governing its procedures for review, comment and administrative appeals by
interested and impacted members of the public such as Petitioners on the FAA’s
review and approval of the Project. Accordingly, this Court exercises de novo
review of this issue.
                                     ARGUMENT
I.    THE FAA MUST COMPLY WITH ITS PUBLIC NOTICE RULES
      It is well established that agencies must abide by their own regulations, as
they have the full “force and effect of law.” Perez v. Mortgage Bankers
Association, 575 U.S. 92, 96 (2015). “Rules issued through the
notice-and-comment process,” like regulations, similarly “have the ‘force and effect
of law.’” Id. Nearly seventy years ago, the Supreme Court held that where an
agency charged with implementing a statutory command does so by adopting
regulations that fall within the scope of the statutory authorization, those regulations
are as fully enforceable as the statute itself. In United States ex rel. Accardi v.
Shaughnessy, 347 U.S. 260, 265-265 (1954), the Supreme Court admonished the
Attorney General for side-stepping legally prescribed procedures that delegated
immigration case review to the Board of Immigration. The high Court held that
since in that case “the regulations delegate to the Board discretionary authority as
broad as the statute confers on the Attorney General[,] the scope of the Attorney
General’s discretion became the yardstick of the Board’s.” Id. at 266. In other
words, duly authorized regulations hold the same force and effect as the statute

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under which they are authorized. Consequently in that case, the delegating agency –
the Attorney General – and the agency tasked with carrying out the regulations – the
Board of Immigration – were both bound by those regulations. Id.; accord, Vitarelli
v. Seaton, 359 U.S. 535, 545 (1959). Failure to abide by those mandatory
procedures is reviewable under the Administrative Procedure Act. 5 U.S.C. §§ 701-
706.
       The FAA is therefore bound by its own regulations, which may be enforced
by this Court. As discussed throughout this brief, those regulations require the FAA
to notify interested parties, including Petitioners, of the FAA’s proposed
determinations whether proposed projects pose hazards to air navigation.
       Codified in Title 14, Part 77 of the Code of Federal Regulations, the FAA’s
regulations require the FAA to “advise all known interested persons” of its proposed
and adopted aviation hazard determinations. 14 C.F.R. § 77.31. Directly relevant
and controlling here, section 77.37 grants to interested persons such as Petitioners
the right to file a Petition for Review if, as in this case, that interested person was
not afforded an opportunity to state its objections to such a determination. 14
C.F.R. § 77.37. These regulations are binding on the FAA, and its failure to comply
with them – resulting in harm to Petitioners – is subject to this Court’s review and
correction.
       The FAA’s Procedures for Handling Airspace Matters, prescribed in FAA JO
Order 7400, are likewise binding on the FAA. Because such FAA orders are
adopted pursuant to a formal protocol involving a 30-day notice-and-comment
period, they have the “force and effect of law.” Hartz v. United States, 387 F.2d
870, 874 (5th Cir. 1968); Lightenburger v. United States, 298 F.Supp. 813, 829
(C.D.Cal. 1969) (reversed on other grounds). In Hartz, the court held an air traffic
controller liable for failing to give the proper warning required by the Air Traffic

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Control Procedures, which are prescribed by FAA JO Order 7110.65. Hartz, 387
F.2d at 874.
      The court in Lightenburger discussed the binding nature of FAA Orders in
greater detail. It held that “[w]hile it does not appear that the Air Traffic Control
Procedures Manual was ever published in the Federal Register in a manner required
to give it the force and effect of law in all respects, nevertheless it does have the
force and effect of law in governing the FAA.” Lightenburger, 298 F.Supp. at 829
(emphasis added).
      So too here, the pertinent air navigation procedures are prescribed in FAA JO
Order 7400.2. Those procedures are the definitive guidebook for determining
hazards to air navigation. United States v. Miller, 303 F.2d 703, 710 fn. 16 (9th Cir.
1962) (Air Traffic Control Procedures are the “Bible for Tower Operators”).
Furthermore, FAA JO Order 7400.2 was available for public review for 30 days on
the FAA website prior to its effective date, providing an opportunity for public
review. JO 7400.2N, Paragraph 1-1-2. While the Airspace Matters Procedures
were not published in the Federal Register, that is not relevant to whether they are
binding on the FAA itself. They are. As the court held in Lightenburger, these
Procedures “have the force and effect of law in governing the FAA.”
Lightenburger, 298 F.Supp. at 829 (emphasis added).
      Unlike FAA regulations or the mandatory procedures that are issued through
FAA Orders – both of which have the force and effect of law – the FAA also issues
Advisory Circulars. As their name suggests, Advisory Circulars are not mandatory.
Because they are strictly advisory, courts have recognized that they do not have the
force and effect of law. In Sierra Pacific Holdings, Inc. v. County of Ventura
(2012) 204 Cal.App.4th 509, 517, for example, the California Court of Appeal held
that because FAA Advisory Circulars “are merely advisory guidelines, they cannot

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constitute paramount federal law that preempts state law. . . . [T]he FAA’s
nonmandatory standards in the Advisory Circular are not regulations and do not
have the force and effect of law.” Id. (emphasis added). This “merely advisory”
status of the Advisory Circulars stands in a stark contrast to the mandatory nature
and effect of the FAA regulations and orders discussed above, which do have “the
force and effect of law.” Id.
      Congress has provided in 49 U.S.C. section 44718 the standards governing
the FAA’s procedures for considering public comments on such determinations.
Section 44718 directs in pertinent part:
      (a) Notice. – By regulation or by order when necessary, the Secretary of
      Transportation shall require a person to give adequate public notice, in the
      form and way the Secretary prescribes, of the construction, alteration,
      establishment, or expansion, or the proposed construction, alteration,
      establishment, or expansion, of a structure or sanitary landfill when the notice
      will promote -
             (1) safety in air commerce;
             (2) the efficient use and preservation of the navigable airspace and of
             airport traffic capacity at public-use airports; or
             (3) the interests of national security, as determined by the Secretary of
             Defense.
      (b) Studies. –
             (1) In general. – Under regulations prescribed by the Secretary, if the
             Secretary decides that constructing or altering a structure may result
             in an obstruction of the navigable airspace, an interference with air or
             space navigation facilities and equipment or the navigable airspace, or,
             after consultation with the Secretary of Defense, an adverse impact on
             military operations and readiness, the Secretary of Transportation shall
             conduct an aeronautical study to decide the extent of any adverse
             impact on the safe and efficient use of the airspace, facilities, or
             equipment. In conducting the study, the Secretary shall –
                   (A) consider factors relevant to the efficient and effective use of
                   the navigable airspace, including –
                          (i) the impact on arrival, departure, and en route
                          procedures for aircraft operation under visual flight rules;


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                          (ii) the impact on arrival, departure, and en route
                          procedures for aircraft operation under instrument flight
                          rules;
                                         ****
                          (vii) other factors relevant to the efficient and effective use
                          of navigable airspace . . . .
             (2) Report. – On completing the study, the Secretary of Transportation
             shall issue a report disclosing the extent of the –
                    (A) adverse impact on the safe and efficient use of the navigable
                    airspace that the Secretary finds will result from constructing or
                    altering the structure . . . .
49 U.S.C. § 44718 (emphasis added).
      Pursuant to its statutory authority, the FAA has, in turn, adopted procedures
for public review and comment on determinations as to whether proposed structures
pose a hazard to air navigation and public safety in 14 C.F.R. Part 77. Section 77.17
defines an obstruction to air navigation as follows:
      “(a) An existing object, including a mobile object, is, and a future object
would be an obstruction to air navigation if it is of greater height than any of the
following heights or surfaces:
             (1) A height of 499 feet AGL [above ground level] at the site of the
             object.
                                        ****
14 C.F.R. § 77.17(a). All of the wind turbines proposed by the Project exceed this
threshold, as they are 586 feet high. 2-ER-106.
      As noted previously, section 77.37 grants interested parties who were not
given an opportunity to state their substantive aeronautical comment on a proposal
that would pose a potential hazard to air navigation the right to petition the FAA for
discretionary review of a determination that the proposal would not pose a hazard to
air navigation:
      (a) If you are the sponsor, provided a substantive comment on a proposal in an

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      aeronautical study, or have a substantive aeronautical comment on the
      proposal but were not given an opportunity to state it, you may petition the
      FAA for a discretionary review of a determination, revision, or extension of a
      determination issued by the FAA.”
14 C.F.R. § 77.37(a) (emphasis added).
      Section 77.39 prescribes the procedure, required contents and effect of
administrative petitions for review of FAA determinations:
      (a) You must file a petition for discretionary review in writing and it must be
      received by the FAA within 30 days after the issuance of a determination
      under [14 C.F.R.] § 77.31, or a revision or extension of the determination
      under § 77.35.
      (b) The petition must contain a full statement of the aeronautical basis on
      which the petition is made, and must include new information or facts not
      previously considered or presented during the aeronautical study, including
      valid aeronautical reasons why the determination, revisions, or extension
      made by the FAA should be reviewed.
                                          ****
      (d) The FAA will inform the petitioners or sponsor (if other than the
      petitioner) and the FCC (whenever an FCC-related proposal is involved) of
      the filing of the petition and that the determination is not final pending
      disposition of the petition.”
14 C.F.R. § 77.39 (emphasis added). Petitioners’ administrative Petition for Review
satisfies the criteria prescribed in subsections (a) and (b).
      Congress has provided further, in 49 U.S.C. section 46110, for this Court’s
review of the FAA’s final decision on an administrative petition for review to assure
that the FAA abides by its rules governing its review of applications for its
determination that obstructions to navigable airspace pose no hazard to navigation
safety. Section 46110 directs in pertinent part that:
      (a) Filing and venue. – Except [for circumstances not present here], a person
      disclosing a substantial interest in an order issued by the Secretary of
      Transportation . . . .in whole or in part under this part . . . . may apply for
      review of the order by filing a petition for review in the . . . court of appeals
      of the United States for the circuit in which the person resides or has its
      principal place of business. The petition must be filed not later than 60 days
      after the order is issued.


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Id. (emphasis added). Petitioners satisfy each of the foregoing criteria for review.
      In exercising its authority to enforce the FAA’s rules and regulations in
reviewing challenges to the FAA’s decisionmaking, this Court conducts its review
according to the standards set forth in the Administrative Procedure Act. 5 U.S.C.
section 706(1), (2)(A)-(D). Those standards direct that “the reviewing court shall
decide all relevant questions of law, interpret constitutional and statutory
provisions, and determine the meaning or applicability of the terms of an agency
action.” Further,
      “the reviewing court shall—
      (1) compel agency action unlawfully withheld or unreasonably delayed; and
      (2) hold unlawful and set aside agency action, findings, and conclusions
      found to be—
             (A) arbitrary, capricious, an abuse of discretion, or otherwise not in
             accordance with law;
             (B) contrary to constitutional right, power, privilege, or immunity;
             (C) in excess of statutory jurisdiction, authority, or limitations, or short
             of statutory right;
             (D) without observance of procedure required by law;
                                         ****
      In making the foregoing determinations, the court shall review the whole
      record or those parts of it cited by a party, and due account shall be taken of
      the rule of prejudicial error.”
5 U.S.C. § 706(2)(A)-(D) (emphasis added).
      In summary, it is axiomatic that an agency must comply with its formally
adopted regulations and rules requiring public notice to interested persons before it
may issue discretionary approvals governed by statutory and regulatory standards.
Congress has provided in 49 U.S.C. section 44718 the standards governing the FAA’s

procedures for considering public comments on such determinations. Pursuant to its


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statutory authority, the FAA has, in turn, adopted procedures for public review and
comment on its determinations whether proposed structures pose a hazard to air
navigation and public safety in 14 C.F.R. sections 77.37 through 77.39 and FAA JO
Order 7400.2. Those procedures provide that Petitioners receive notice of and be
afforded an opportunity to comment upon the FAA’s proposed determinations of
whether a project will obstruct and pose a hazard to aviation safety. They also
require that interested parties such as Petitioners be allowed to file an administrative
Petition for Review of those determinations if, as here, they were not afforded an
opportunity to state their objections to such determinations during the FAA’s review
process.
      Congress has confirmed its intent that this Court afford a judicial remedy to
persons who are harmed by FAA determinations regarding hazards to aviation
safety. Congress provided in 49 U.S.C. section 46110 for this Court’s review of
such determinations to assure that the FAA abides by its rules governing review of
applications for its determination that obstructions to navigable airspace pose no
hazard to navigation safety. In exercising its authority to enforce the FAA’s rules
and regulations in response to challenges to the FAA’s decisionmaking, this Court
conducts its review according to the standards set forth in the Administrative
Procedure Act. 5 U.S.C. section 706(1), (2)(A)-(D).
II.   THE FAA FAILED TO COMPLY WITH ITS PUBLIC NOTICE AND
      ADMINISTRATIVE REVIEW RULES
      The FAA failed to comply with its public notice and administrative review
rules in two significant respects.
      First, the FAA failed to afford Petitioners notice of the comment period on
the FAA’s second issuance of notices of its determination that the Project posed no
hazards to aviation safety. Motion to Augment, Exhibit 1. As explained above, the


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FAA is required by its own regulations to “advise all known interested persons” of
its proposed and adopted aviation hazard determinations. 14 C.F.R. § 77.31.
Petitioners were entitled to notice of the FAA’s second comment period on the
Project because, as shown, they more than adequately demonstrated their keen
interest in the Project’s impacts on aviation safety.
      Second, the FAA denied Petitioners an opportunity to file their administrative
Petition for Review challenging the FAA’s second issuance of Determination
Letters concluding that the Project posed no hazards to aviation safety. 1-ER-2;
Motion to Augment, Exhibit 2. As discussed above, the FAA is required by its own
regulations to provide interested persons such as Petitioners the right to file a
Petition for Review of the FAA’s determination that a project posed no hazards to
aviation safety where, as here, they were not given notice of the comment period nor
provided an opportunity to state their objections to that determination. 14 C.F.R. §
77.37. Petitioners were entitled to file their second administrative Petition for
Review because they were not given that required notice and an opportunity to state
their objections to the FAA’s Letter Determinations approving the Project.
      In particular, section 77.37 grants interested parties who were not given an
opportunity to state their substantive aeronautical comment on a proposal that
would pose a potential hazard to air navigation the right to petition the FAA for
discretionary review of a determination that the proposal would not pose such a
hazard:
      (a) If you are the sponsor, provided a substantive comment on a proposal in an
      aeronautical study, or have a substantive aeronautical comment on the
      proposal but were not given an opportunity to state it, you may petition the
      FAA for a discretionary review of a determination, revision, or extension of a
      determination issued by the FAA.”
14 C.F.R. § 77.37(a) (emphasis added).
      Petitioners qualify under these criteria on two independent grounds. First,

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Petitioners “provided a substantive comment” on the Project, since they previously
submitted detailed comments during the FAA’s original review of the Project that
prompted, together with Petitioners’ subsequent administrative Petition for Review,
the FAA’s rescission of its initial Determination Letters for the Project. 2-ER-173-
174 (FAA remand memorandum vacating the FAA’s original Determination Letters
for the Project), 175 (FAA remand letter to Petitioners), 176-177 (FAA
determination that petition was “valid”); 3-ER-179-412 (Petition for Review).
       Second, Petitioners have substantive aeronautical comments to make on the
Project as set forth in their second administrative Petition for Review, but were
unable to state those comments. Petitioners timely submitted substantive
aeronautical comments to the FAA on September 30, 2021. 2-ER-4-99, 100.
However, they were “not given an opportunity to state [them]” during the FAA’s
second comment period because they were never given notice of that second
comment period. Motion to Augment, Exhibits 1 and 2.
       Accordingly, the FAA failed to comply with its rules governing public notice
and administrative review of its Determination Letters for the Project.
III.   BECAUSE THE FAA FAILED TO COMPLY WITH ITS
       PUBLIC NOTICE RULES, PETITIONERS NEVER
       RECEIVED NOTICE OF THE FAA’S COMMENT PERIOD
       FOR ITS SECOND ROUND OF AERONAUTICAL STUDIES
       Petitioners never received notice of this second comment period because the
FAA failed to afford Petitioners notice of that comment period. Petitioners did not
learn of the FAA’s second comment period for the Project until after that comment
period had closed on May 15, 2021. 2-ER-171; Motion to Augment, Exhibit 1.
Petitioners timely submitted their administrative Petition for Review of the FAA’s
issuance of its second set of Determination Letters for the Project to the FAA on
September 30, 2021, within 30 days after the FAA had issued those Determination


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Letters on August 31, 2021. 2-ER-4-99 (Petitioners’ administrative Petition for
Review), 100 (Petitioners’ transmittal of their administrative Petition for Review),
101-114 (Determination Letters).
      Consequently, promptly after receiving the FAA’s “Notice of Invalid Petition
Received” on October 15, 2021 (1-ER-2), on October 25, 2021 Petitioners told the
FAA that they had not received notice of the FAA’s second comment period, and
requested reconsideration of the FAA’s rejection of Petitioners’ administrative
Petition for Review. 2-ER-4-99; Motion to Augment, Exhibit 1. Petitioners stated:
             “We received your October 15, 2021 Notice of Invalid Petition
      Received, dismissing our September 30, 2021 Petition for Review by
      Backcountry Against Dumps, Donna Tisdale, and Joe “Ed” Tisdale Regarding
      No Hazard to Air Navigation Determinations for 72 Turbines Associated with
      the Campo Wind Project. After review, we believe that the Notice of Invalid
      Petition is incorrect. Neither our office nor our client received notice of the
      aeronautical study, as required under FAA Order 7400.2. Therefore, we were
      never afforded an opportunity to comment on the study. Pursuant to Code of
      Federal Regulations, title 14, part 77.37(a), ‘any person who has a substantial
      aeronautical objection to [proposed construction] but was not given the
      opportunity to state it, may petition the Administrator within 30 days after the
      issuance of the determination.’
            Please provide information on the procedures for appealing your
      October 15, 2021 Notice of Invalid Petition to our office at the above address.
      Alternatively, please rescind the October 15, 2021 Notice of Invalid Petition
      and proceed with discretionary review of the FAA’s Determination of No
      Hazard, pursuant to Code of Federal Regulations, title 14, parts 77.37 and
      77.41. Please also acknowledge receipt of this letter and advise of your
      decision on our request.”
Id. Petitioners’ requests were rejected, as discussed below.
IV.   BECAUSE PETITIONERS WERE NOT PROVIDED NOTICE
      OF THE FAA’S SECOND COMMENT PERIOD, PETITIONERS
      WERE PREVENTED FROM SUBMITTING THEIR COMMENTS
      AND FILING THEIR ADMINISTRATIVE PETITION FOR REVIEW.

      The FAA rejected Petitioners’ September 30, 2021 administrative Petition for
Review on the sole grounds that, notwithstanding Petitioners’ submission on
January 30, 2020 of a 666-page set of detailed comments on the Project during the


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FAA’s original comment period (4-ER-444-643, 5-ER-645-782 (comments and
Exhibit 1); 5-ER-783-927, 6-ER-929-1111 (Exhibits 2-8 to comments)), and
Petitioners’ submission of a 234-page administrative Petition for Review of the
FAA’s original Letter Determinations for the Project on August 17, 2020 (3-ER-
179-412), Petitioners did not submit a second, separate set of comments during the
FAA’s second comment period. 1-ER-2 (“Notice of Invalid Petition Received,”
dated October 15, 2021).
         As explained above, Petitioners had not submitted comments during the
FAA’s second comment period because the FAA had not provided notice of that
comment period to Petitioners notwithstanding its knowledge that Petitioners were
“known interested persons” entitled to notice of that comment period. 14 C.F.R. §
77.31.
V.       BECAUSE PETITIONERS WERE NOT GIVEN AN
         OPPORTUNITY TO SUBMIT THEIR COMMENTS ON THE
         PROJECT, THE FAA WAS REQUIRED TO AFFORD PETITIONERS
         THE RIGHT TO PETITION THE FAA TO REVIEW ITS
         DETERMINATION THAT THE PROJECT POSED NO HAZARD TO
         NAVIGATION SAFETY

         After advising the FAA on October 25, 2021 that the grounds for its rejection
of Petitioners’ administrative Petition for Review were incorrect, Petitioners
received the FAA’s reply refusing to reconsider its decision. The FAA stated:
               “Thank you for your letter. The FAA reviewed the subject aeronautical
         studies and petition in accordance with Title 14 Code of Federal Regulations,
         part 77 and affirmed your petition is invalid because no comments were
         submitted during the public comment period. There are no further actions the
         FAA can take under part 77.
                Be advised that 49 United States Code, Section 46110, Judicial review,
         allows for review of the order by filing a petition for review in the United
         States Court of Appeals for the District of Columbia Circuit or in the Court of
         Appeals of the United States for the circuit in which the person resides or has
         its principal place of business. The petition must be filed no later than 60 days
         after the order is issued.”


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Motion to Augment, Exhibit 2 (emphasis added).
      Since the FAA refused to reopen its internal review and allow Petitioners to
proceed with their administrative Petition for Review, Petitioners were never
afforded an opportunity to comment on the FAA’s aeronautical study.
      The FAA’s failure to afford Petitioners the opportunity to review and
comment on its aeronautical study conflicts with the criteria set forth in the FAA’s
governing regulation, 14 C.F.R. § 77.31, and its governing rule, FAA Order 7400.2.
Petitioners explained to the FAA that under its own controlling guidance,
Petitioners were entitled to notice of and the opportunity to comment on the FAA’s
aeronautical study. As Petitioners noted in their October 25, 2021 email to the
FAA, FAA Order 7400.2, subpart 6-3-17(c), directs:
      “As a minimum, the following governmental agencies, organizations,
      and individuals should be included on distribution lists [for public
      notices of aeronautical determinations] due to their inherent
      aeronautical interests: . . . As appropriate, state and local authorities;
      civic groups; organizations; and individuals who do not have an
      aeronautical interest, but may become involved in specific
      aeronautical cases, must be included in the notice distribution, and
      given supplemental notice of actions and proceedings on a case-by-
      case basis. Those involved should clearly understand that the public
      notice is to solicit aeronautical comments concerning the physical
      effect of the structure on the safe and efficient use of airspace by
      aircraft.”
Motion to Augment, Exhibit 1 (emphasis added). Confirming the importance of
identifying persons entitled to notice, paragraph 6-3-17, subsection (d) further
requires the FAA to “[d]ocument and place in the obstruction evaluation file the
names of each person and/or organizations to which public notice was sent.” FAA
Order 7400.2, paragraph 6-3-17(d).
      Having submitted a lengthy and detailed comment on the FAA’s original
aviation obstruction analysis for the Project in 2020, Petitioners clearly
demonstrated they were deeply “involved in [this] specific aeronautical case[],” and


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thus under the FAA’s regulation governing public notice, entitled to be “included in
the [FAA] notice distribution.” Id.
      Petitioners’ profound interest in this “specific aeronautical case” sufficient to
entitle them to notice of the FAA’s further aeronautical reviews was demonstrated
again when Petitioners filed their 234-page administrative Petition for Review on
August 17, 2020. 3-ER-179-412. The FAA determined this petition was “valid.”
2-ER-176-177.
      The merit of Petitioners’ petition was confirmed on December 2, 2020, when
as discussed above, the FAA’s Acting Manager, Rules and Regulations Group,
granted the petition and directed the FAA to rescind its determination that the
Project posed no hazard to aviation, citing a host of procedural and substantive
defects. 2-ER-173-174, 175.
      Thus, under the facts documented in the FAA’s own records of its review in
this case, Petitioners unquestionably qualified as a “civic group[]; organization[];
and individuals” who “must be included in the notice distribution” of the FAA’s
aeronautical studies because they had demonstrated not just once, but repeatedly,
that they “may become involved in” this “specific aeronautical case[].” FAA Order
7400.2, subpart 6-3-17(c).
      Petitioners also qualified under the FAA’s governing regulation, 14 C.F.R. §
77.31(a), as it imposes an even broader and more inclusive duty to afford notice and
an opportunity to comment to the public on FAA aeronautical studies. As noted
above, section 77.31(a) requires the FAA to provide notice of its aeronautical
studies to “all known interested persons.” Petitioners plainly qualify as “known
interested persons” because they submitted highly detailed and carefully researched
comments on the Project on January 30, 2020 (4-ER-444-643; 5-ER-645-782) and a
lengthy administrative Petition for Review of the FAA’s original Letter

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Determinations for the Project on August 17, 2020 (3-ER-179-412).
      Moreover, as noted Petitioners also qualify under 14 C.F.R.§ 77.37(a), which
mandates that “any person who has a substantial aeronautical objection to [proposed
construction] but was not given the opportunity to state it, may petition the
Administrator within 30 days after the issuance of the determination.” Id. (emphasis
added). Notwithstanding Petitioners’ prompt submission of their administrative
Petition for Review in full compliance with section 77.37(a), the FAA refused to
abide by its own prescribed review procedure, impelling Petitioners to secure
judicial review.
VI.   THIS COURT SHOULD VACATE THE FAA’S REFUSAL TO ALLOW
      PETITIONERS TO FILE THEIR ADMINISTRATIVE PETITION
      REQUESTING THE FAA’S REVIEW OF ITS DETERMINATION
      THAT THE PROJECT POSED NO HAZARD TO AVIATION SAFETY
      The FAA failed to abide by its clear duty under its regulations to accept,
review and act on Petitioners’ timely and valid administrative Petition for Review.
As noted, the FAA’s pertinent regulation, codified in 14 C.F.R.§ 77.37(a), provides
that “any person who has a substantial aeronautical objection to [proposed
construction] but was not given the opportunity to state it, may petition the
Administrator within 30 days after the issuance of the determination.” Id. (emphasis
added).
      Notwithstanding Petitioners’ prompt submission of their administrative
Petition for Review in full compliance with section 77.37(a), the FAA refused to
abide by its own required review procedure, leaving Petitioners no option but to
seek this Court’s review and remand.
                                  CONCLUSION
      This Petition for Review asks this Court to direct the FAA to allow
Petitioners to file their second administrative Petition for Review. The statutes,


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regulations and rules governing the FAA’s consideration of such petitions clearly
require it to accept for review Petitioners’ timely and valid petition.
      Granting this Petition for Review will serve not just the cause of justice, but
equally important, the public’s air safety. The Project poses potentially significant
impacts on aircraft safety and operation, by: (1) erecting obstructions that will be
particularly difficult for pilots to see at night (since the top of the turbine rotors’
sweep will be 230 feet – twenty stories – higher than the single red light on the
rotor’s nacelle) (2) forcing aircraft to higher and colder altitudes where they will
suffer greater risks of wing- and rotor-blade icing, (3) producing turbulence, (4)
degrading radar function, and (5) impeding low flying aircraft including aerial
firefighters, agricultural aircraft and glider pilots, among other hazards. The Project
will pose an unacceptable risk of fatal aircraft collisions that cannot be eliminated
by FAA-required lighting.
      The significant risks to aviation safety identified by Petitioners’
administrative Petition for Review should be considered by the FAA after a full and
proper airing of the issues raised, and if appropriate, mitigation measures such as
relocating the turbines or lowering their height should also be given consideration.
      Petitioners are vitally concerned about the Project’s impacts on aviation
safety because they live directly beneath where any aircraft collisions would likely
occur, and where resulting wildfires would start. For this reason, Petitioners made
numerous good faith suggestions for further study and potential mitigation of the
threats to aviation safety posed by the Project. But contrary to its own regulations,
the FAA failed to afford Petitioners an opportunity to submit comments during the
second, final comment period, and then refused to accept, consider and act on
Petitioners’ administrative Petition for Review on the grounds Petitioners did not
submit the comments that the FAA’s failure to provide notice prevented Petitioners

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from submitting.
      For these reasons, this Court should direct the FAA to comply with its own
regulations and accept as “valid” Petitioners’ improperly rejected administrative
Petition for Review.


Dated: July 13, 2022                          Respectfully submitted,
                                              /s/ Stephan C. Volker
                                              STEPHAN C. VOLKER
                                              Attorney for Petitioners Backcountry Against
                                              Dumps, Donna Tisdale, and Joe “Ed” Tisdale


                       STATEMENT OF RELATED CASE
      This case is related to Backcountry Against Dumps, et al. v. Bureau of Indian
Affairs, et al. (appeal pending, Ninth Cir. Case No. 21-55869).


Dated: July 13, 2022
                                              /s/ Stephan C. Volker
                                              STEPHAN C. VOLKER




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                          FOR THE NINTH CIRCUIT
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9th Cir. Case Number(s)              21-71426

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§ 701. Application; definitions, 5 USCA § 701




     KeyCite Yellow Flag - Negative Treatment
Proposed Legislation



  United States Code Annotated
    Title 5. Government Organization and Employees (Refs & Annos)
       Part I. The Agencies Generally
         Chapter 7. Judicial Review (Refs & Annos)

                                                        5 U.S.C.A. § 701

                                                 § 701. Application; definitions

                                                    Effective: January 4, 2011
                                                           Currentness


(a) This chapter applies, according to the provisions thereof, except to the extent that--


  (1) statutes preclude judicial review; or


  (2) agency action is committed to agency discretion by law.


(b) For the purpose of this chapter--


  (1) “agency” means each authority of the Government of the United States, whether or not it is within or subject to review
  by another agency, but does not include--


     (A) the Congress;


     (B) the courts of the United States;


     (C) the governments of the territories or possessions of the United States;


     (D) the government of the District of Columbia;


     (E) agencies composed of representatives of the parties or of representatives of organizations of the parties to the disputes
     determined by them;


     (F) courts martial and military commissions;




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§ 701. Application; definitions, 5 USCA § 701




      (G) military authority exercised in the field in time of war or in occupied territory; or


      (H) functions conferred by sections 1738, 1739, 1743, and 1744 of title 12; subchapter II of chapter 471 of title 49; or
      sections 1884, 1891-1902, and former section 1641(b)(2), of title 50, appendix; 1 and


    (2) “person”, “rule”, “order”, “license”, “sanction”, “relief”, and “agency action” have the meanings given them by section
    551 of this title.


                                                             CREDIT(S)

   (Pub.L. 89-554, Sept. 6, 1966, 80 Stat. 392; Pub.L. 103-272, § 5(a), July 5, 1994, 108 Stat. 1373; Pub.L. 111-350, § 5(a)
(3), Jan. 4, 2011, 124 Stat. 3841.)




                                                            Footnotes


1       See References in Text note set out under this section.

5 U.S.C.A. § 701, 5 USCA § 701
Current through P.L. 117-159. Some statute sections may be more current, see credits for details.

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§ 702. Right of review, 5 USCA § 702




  United States Code Annotated
    Title 5. Government Organization and Employees (Refs & Annos)
       Part I. The Agencies Generally
         Chapter 7. Judicial Review (Refs & Annos)

                                                         5 U.S.C.A. § 702

                                                      § 702. Right of review

                                                            Currentness


A person suffering legal wrong because of agency action, or adversely affected or aggrieved by agency action within the meaning
of a relevant statute, is entitled to judicial review thereof. An action in a court of the United States seeking relief other than
money damages and stating a claim that an agency or an officer or employee thereof acted or failed to act in an official capacity
or under color of legal authority shall not be dismissed nor relief therein be denied on the ground that it is against the United
States or that the United States is an indispensable party. The United States may be named as a defendant in any such action,
and a judgment or decree may be entered against the United States: Provided, That any mandatory or injunctive decree shall
specify the Federal officer or officers (by name or by title), and their successors in office, personally responsible for compliance.
Nothing herein (1) affects other limitations on judicial review or the power or duty of the court to dismiss any action or deny
relief on any other appropriate legal or equitable ground; or (2) confers authority to grant relief if any other statute that grants
consent to suit expressly or impliedly forbids the relief which is sought.


                                                             CREDIT(S)

  (Pub.L. 89-554, Sept. 6, 1966, 80 Stat. 392; Pub.L. 94-574, § 1, Oct. 21, 1976, 90 Stat. 2721.)


5 U.S.C.A. § 702, 5 USCA § 702
Current through P.L. 117-159. Some statute sections may be more current, see credits for details.

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§ 703. Form and venue of proceeding, 5 USCA § 703




  United States Code Annotated
    Title 5. Government Organization and Employees (Refs & Annos)
       Part I. The Agencies Generally
         Chapter 7. Judicial Review (Refs & Annos)

                                                         5 U.S.C.A. § 703

                                              § 703. Form and venue of proceeding

                                                            Currentness


The form of proceeding for judicial review is the special statutory review proceeding relevant to the subject matter in a court
specified by statute or, in the absence or inadequacy thereof, any applicable form of legal action, including actions for declaratory
judgments or writs of prohibitory or mandatory injunction or habeas corpus, in a court of competent jurisdiction. If no special
statutory review proceeding is applicable, the action for judicial review may be brought against the United States, the agency
by its official title, or the appropriate officer. Except to the extent that prior, adequate, and exclusive opportunity for judicial
review is provided by law, agency action is subject to judicial review in civil or criminal proceedings for judicial enforcement.


                                                             CREDIT(S)

  (Pub.L. 89-554, Sept. 6, 1966, 80 Stat. 392; Pub.L. 94-574, § 1, Oct. 21, 1976, 90 Stat. 2721.)


5 U.S.C.A. § 703, 5 USCA § 703
Current through P.L. 117-159. Some statute sections may be more current, see credits for details.

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§ 704. Actions reviewable, 5 USCA § 704




  United States Code Annotated
    Title 5. Government Organization and Employees (Refs & Annos)
       Part I. The Agencies Generally
         Chapter 7. Judicial Review (Refs & Annos)

                                                        5 U.S.C.A. § 704

                                                    § 704. Actions reviewable

                                                           Currentness


Agency action made reviewable by statute and final agency action for which there is no other adequate remedy in a court are
subject to judicial review. A preliminary, procedural, or intermediate agency action or ruling not directly reviewable is subject to
review on the review of the final agency action. Except as otherwise expressly required by statute, agency action otherwise final
is final for the purposes of this section whether or not there has been presented or determined an application for a declaratory
order, for any form of reconsideration, or, unless the agency otherwise requires by rule and provides that the action meanwhile
is inoperative, for an appeal to superior agency authority.


                                                            CREDIT(S)

  (Pub.L. 89-554, Sept. 6, 1966, 80 Stat. 392.)


5 U.S.C.A. § 704, 5 USCA § 704
Current through P.L. 117-159. Some statute sections may be more current, see credits for details.

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§ 705. Relief pending review, 5 USCA § 705




     KeyCite Yellow Flag - Negative Treatment
Proposed Legislation



  United States Code Annotated
    Title 5. Government Organization and Employees (Refs & Annos)
       Part I. The Agencies Generally
         Chapter 7. Judicial Review (Refs & Annos)

                                                       5 U.S.C.A. § 705

                                                  § 705. Relief pending review

                                                          Currentness


When an agency finds that justice so requires, it may postpone the effective date of action taken by it, pending judicial review.
On such conditions as may be required and to the extent necessary to prevent irreparable injury, the reviewing court, including
the court to which a case may be taken on appeal from or on application for certiorari or other writ to a reviewing court, may
issue all necessary and appropriate process to postpone the effective date of an agency action or to preserve status or rights
pending conclusion of the review proceedings.


                                                           CREDIT(S)

  (Pub.L. 89-554, Sept. 6, 1966, 80 Stat. 393.)


5 U.S.C.A. § 705, 5 USCA § 705
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§ 706. Scope of review, 5 USCA § 706




    KeyCite Yellow Flag - Negative Treatment
Unconstitutional or Preempted Limitation Recognized by Krafsur v. Davenport, 6th Cir.(Tenn.), Dec. 04, 2013

     KeyCite Yellow Flag - Negative Treatment
Proposed Legislation



  United States Code Annotated
    Title 5. Government Organization and Employees (Refs & Annos)
       Part I. The Agencies Generally
         Chapter 7. Judicial Review (Refs & Annos)

                                                              5 U.S.C.A. § 706

                                                           § 706. Scope of review

                                                                 Currentness


To the extent necessary to decision and when presented, the reviewing court shall decide all relevant questions of law, interpret
constitutional and statutory provisions, and determine the meaning or applicability of the terms of an agency action. The
reviewing court shall--


  (1) compel agency action unlawfully withheld or unreasonably delayed; and


  (2) hold unlawful and set aside agency action, findings, and conclusions found to be--


     (A) arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law;


     (B) contrary to constitutional right, power, privilege, or immunity;


     (C) in excess of statutory jurisdiction, authority, or limitations, or short of statutory right;


     (D) without observance of procedure required by law;


     (E) unsupported by substantial evidence in a case subject to sections 556 and 557 of this title or otherwise reviewed on
     the record of an agency hearing provided by statute; or


     (F) unwarranted by the facts to the extent that the facts are subject to trial de novo by the reviewing court.

In making the foregoing determinations, the court shall review the whole record or those parts of it cited by a party, and due
account shall be taken of the rule of prejudicial error.




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§ 706. Scope of review, 5 USCA § 706




                                                          CREDIT(S)

  (Pub.L. 89-554, Sept. 6, 1966, 80 Stat. 393.)


5 U.S.C.A. § 706, 5 USCA § 706
Current through P.L. 117-159. Some statute sections may be more current, see credits for details.

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§ 44718. Structures interfering with air commerce or national security, 49 USCA § 44718




     KeyCite Yellow Flag - Negative Treatment
Proposed Legislation



  United States Code Annotated
    Title 49. Transportation (Refs & Annos)
       Subtitle VII. Aviation Programs
         Part A. Air Commerce and Safety (Refs & Annos)
            Subpart III. Safety (Refs & Annos)
               Chapter 447. Safety Regulation (Refs & Annos)

                                                        49 U.S.C.A. § 44718

                                § 44718. Structures interfering with air commerce or national security

                                                     Effective: October 5, 2018
                                                            Currentness


(a) Notice.--By regulation or by order when necessary, the Secretary of Transportation shall require a person to give adequate
public notice, in the form and way the Secretary prescribes, of the construction, alteration, establishment, or expansion, or the
proposed construction, alteration, establishment, or expansion, of a structure or sanitary landfill when the notice will promote--


  (1) safety in air commerce;


  (2) the efficient use and preservation of the navigable airspace and of airport traffic capacity at public-use airports; or


  (3) the interests of national security, as determined by the Secretary of Defense.


(b) Studies.--


  (1) In general.--Under regulations prescribed by the Secretary, if the Secretary decides that constructing or altering a structure
  may result in an obstruction of the navigable airspace, an interference with air or space navigation facilities and equipment
  or the navigable airspace, or, after consultation with the Secretary of Defense, an adverse impact on military operations and
  readiness, the Secretary of Transportation shall conduct an aeronautical study to decide the extent of any adverse impact on
  the safe and efficient use of the airspace, facilities, or equipment. In conducting the study, the Secretary shall--


     (A) consider factors relevant to the efficient and effective use of the navigable airspace, including--


        (i) the impact on arrival, departure, and en route procedures for aircraft operating under visual flight rules;


        (ii) the impact on arrival, departure, and en route procedures for aircraft operating under instrument flight rules;




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§ 44718. Structures interfering with air commerce or national security, 49 USCA § 44718




       (iii) the impact on existing public-use airports and aeronautical facilities;


       (iv) the impact on planned public-use airports and aeronautical facilities;


       (v) the cumulative impact resulting from the proposed construction or alteration of a structure when combined with the
       impact of other existing or proposed structures;


       (vi) the impact on launch and reentry for launch and reentry vehicles arriving or departing from a launch site or reentry
       site licensed by the Secretary of Transportation; and


       (vii) other factors relevant to the efficient and effective use of navigable airspace; and


    (B) include the finding made by the Secretary of Defense under subsection (f).


  (2) Report.-- On completing the study, the Secretary of Transportation shall issue a report disclosing the extent of the--


    (A) adverse impact on the safe and efficient use of the navigable airspace that the Secretary finds will result from
    constructing or altering the structure; and


    (B) unacceptable risk to the national security of the United States, as determined by the Secretary of Defense under
    subsection (f).


  (3) Severability.--A determination by the Secretary of Transportation on hazard to air navigation under this section shall
  remain independent of a determination of unacceptable risk to the national security of the United States by the Secretary of
  Defense under subsection (f).


(c) Broadcast applications and tower studies.--In carrying out laws related to a broadcast application and conducting an
aeronautical study related to broadcast towers, the Administrator of the Federal Aviation Administration and the Federal
Communications Commission shall take action necessary to coordinate efficiently--


  (1) the receipt and consideration of, and action on, the application; and


  (2) the completion of any associated aeronautical study.


(d) Limitation on construction of landfills.--


  (1) In general.--No person shall construct or establish a municipal solid waste landfill (as defined in section 258.2 of title
  40, Code of Federal Regulations, as in effect on the date of the enactment of this subsection) that receives putrescible waste



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§ 44718. Structures interfering with air commerce or national security, 49 USCA § 44718


  (as defined in section 257.3-8 of such title) within 6 miles of a public airport that has received grants under chapter 471 and
  is primarily served by general aviation aircraft and regularly scheduled flights of aircraft designed for 60 passengers or less
  unless the State aviation agency of the State in which the airport is located requests that the Administrator of the Federal
  Aviation Administration exempt the landfill from the application of this subsection and the Administrator determines that
  such exemption would have no adverse impact on aviation safety.


  (2) Limitation on applicability.--Paragraph (1) shall not apply in the State of Alaska and shall not apply to the construction,
  establishment, expansion, or modification of, or to any other activity undertaken with respect to, a municipal solid waste
  landfill if the construction or establishment of the landfill was commenced on or before the date of the enactment of this
  subsection.


(e) Review of aeronautical studies.--The Administrator of the Federal Aviation Administration shall develop procedures to
allow the Department of Defense and the Department of Homeland Security to review and comment on an aeronautical study
conducted pursuant to subsection (b) prior to the completion of the study.


(f) National security finding.--As part of an aeronautical study conducted under subsection (b) and in accordance with section
183a(e) of title 10, the Secretary of Defense shall--


  (1) make a finding on whether the construction, alteration, establishment, or expansion of a structure or sanitary landfill
  included in the study would result in an unacceptable risk to the national security of the United States; and


  (2) transmit the finding to the Secretary of Transportation for inclusion in the report required under subsection (b)(2).


(g) Special rule for identified geographic areas.--In the case of a proposed structure to be located within a geographic area
identified under section 183a(d)(2)(B) of title 10, the Secretary of Transportation may not issue a determination pursuant to this
section until the Secretary of Defense issues a finding under section 183a(e) of title 10, the Secretary of Defense advises the
Secretary of Transportation that no finding under section 183a(e) of title 10 will be forthcoming, or 180 days have lapsed since
the project was filed with the Secretary of Transportation pursuant to this section, whichever occurs first.


(h) Definitions.--In this section, the following definitions apply:


  (1) Adverse impact on military operations and readiness.--The term “adverse impact on military operations and readiness”
  has the meaning given the term in section 183a(h)(1) of title 10.


  (2) Unacceptable risk to the national security of the United States.--The term “unacceptable risk to the national security
  of the United States” has the meaning given the term in section 183a(h)(7) of title 10.


                                                            CREDIT(S)

  (Pub.L. 103-272, § 1(e), July 5, 1994, 108 Stat. 1200; Pub.L. 104-264, Title XII, § 1220(a), Oct. 9, 1996, 110 Stat. 3286;
Pub.L. 106-181, Title V, § 503(b), Apr. 5, 2000, 114 Stat. 133; Pub.L. 112-81, Div. A, Title III, § 332, Dec. 31, 2011, 125
Stat. 1369; Pub.L. 114-248, § 1(a), Nov. 28, 2016, 130 Stat. 998; Pub.L. 114-328, Div. A, Title III, § 341(a)(1) to (4)(A), Dec.



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§ 44718. Structures interfering with air commerce or national security, 49 USCA § 44718


23, 2016, 130 Stat. 2079; Pub.L. 115-91, Div. A, Title III, § 311(b)(2), (3), (e), Dec. 12, 2017, 131 Stat. 1347, 1348; Pub.L.
115-232, Div. A, Title X, § 1081(e)(2), Aug. 13, 2018, 132 Stat. 1986; Pub.L. 115-254, Div. B, Title V, § 539(h), Oct. 5, 2018,
132 Stat. 3371.)


49 U.S.C.A. § 44718, 49 USCA § 44718
Current through P.L. 117-159. Some statute sections may be more current, see credits for details.

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§ 46110. Judicial review, 49 USCA § 46110




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  United States Code Annotated
    Title 49. Transportation (Refs & Annos)
       Subtitle VII. Aviation Programs
         Part A. Air Commerce and Safety (Refs & Annos)
            Subpart IV. Enforcement and Penalties (Refs & Annos)
               Chapter 461. Investigations and Proceedings

                                                       49 U.S.C.A. § 46110

                                                     § 46110. Judicial review

                                                    Effective: October 5, 2018
                                                           Currentness


(a) Filing and venue.--Except for an order related to a foreign air carrier subject to disapproval by the President under section
41307 or 41509(f) of this title, a person disclosing a substantial interest in an order issued by the Secretary of Transportation
(or the Administrator of the Transportation Security Administration with respect to security duties and powers designated to
be carried out by the Administrator of the Transportation Security Administration or the Administrator of the Federal Aviation
Administration with respect to aviation duties and powers designated to be carried out by the Administrator of the Federal
Aviation Administration) in whole or in part under this part, part B, or subsection (l) or (s) of section 114 may apply for review
of the order by filing a petition for review in the United States Court of Appeals for the District of Columbia Circuit or in the
court of appeals of the United States for the circuit in which the person resides or has its principal place of business. The petition
must be filed not later than 60 days after the order is issued. The court may allow the petition to be filed after the 60th day only
if there are reasonable grounds for not filing by the 60th day.


(b) Judicial procedures.--When a petition is filed under subsection (a) of this section, the clerk of the court immediately shall
send a copy of the petition to the Secretary, Administrator of the Transportation Security Administration, or Administrator of the
Federal Aviation Administration, as appropriate. The Secretary, Administrator of the Transportation Security Administration,
or Administrator of the Federal Aviation Administration shall file with the court a record of any proceeding in which the order
was issued, as provided in section 2112 of title 28.


(c) Authority of court.--When the petition is sent to the Secretary, Administrator of the Transportation Security Administration,
or Administrator of the Federal Aviation Administration, the court has exclusive jurisdiction to affirm, amend, modify, or
set aside any part of the order and may order the Secretary, Administrator of the Transportation Security Administration, or
Administrator of the Federal Aviation Administration to conduct further proceedings. After reasonable notice to the Secretary,
Administrator of the Transportation Security Administration, or Administrator of the Federal Aviation Administration, the court
may grant interim relief by staying the order or taking other appropriate action when good cause for its action exists. Findings
of fact by the Secretary, Administrator of the Transportation Security Administration, or Administrator of the Federal Aviation
Administration, if supported by substantial evidence, are conclusive.


(d) Requirement for prior objection.--In reviewing an order under this section, the court may consider an objection to an
order of the Secretary, Administrator of the Transportation Security Administration, or Administrator of the Federal Aviation



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§ 46110. Judicial review, 49 USCA § 46110


Administration only if the objection was made in the proceeding conducted by the Secretary, Administrator of the Transportation
Security Administration, or Administrator of the Federal Aviation Administration or if there was a reasonable ground for not
making the objection in the proceeding.


(e) Supreme Court review.--A decision by a court under this section may be reviewed only by the Supreme Court under section
1254 of title 28.


                                                          CREDIT(S)

  (Pub.L. 103-272, § 1(e), July 5, 1994, 108 Stat. 1230; Pub.L. 107-71, Title I, § 140(b)(1), (2), Nov. 19, 2001, 115 Stat. 641;
Pub.L. 108-176, Title II, § 228, Dec. 12, 2003, 117 Stat. 2532; Pub.L. 115-254, Div. K, Title I, § 1991(f)(1) to (4), Oct. 5,
2018, 132 Stat. 3642.)


49 U.S.C.A. § 46110, 49 USCA § 46110
Current through P.L. 117-159. Some statute sections may be more current, see credits for details.

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§ 77.17 Obstruction standards., 14 C.F.R. § 77.17




  Code of Federal Regulations
    Title 14. Aeronautics and Space
      Chapter I. Federal Aviation Administration, Department of Transportation
         Subchapter E. Airspace
            Part 77. Safe, Efficient Use, and Preservation of the Navigable Airspace (Refs & Annos)
               Subpart C. Standards for Determining Obstructions to Air Navigation or Navigational AIDS or Facilities

                                                        14 C.F.R. § 77.17

                                                 § 77.17 Obstruction standards.

                                                   Effective: January 18, 2011
                                                           Currentness


(a) An existing object, including a mobile object, is, and a future object would be an obstruction to air navigation if it is of
greater height than any of the following heights or surfaces:


     (1) A height of 499 feet AGL at the site of the object.


     (2) A height that is 200 feet AGL, or above the established airport elevation, whichever is higher, within 3 nautical miles
     of the established reference point of an airport, excluding heliports, with its longest runway more than 3,200 feet in actual
     length, and that height increases in the proportion of 100 feet for each additional nautical mile from the airport up to a
     maximum of 499 feet.


     (3) A height within a terminal obstacle clearance area, including an initial approach segment, a departure area, and a circling
     approach area, which would result in the vertical distance between any point on the object and an established minimum
     instrument flight altitude within that area or segment to be less than the required obstacle clearance.


     (4) A height within an en route obstacle clearance area, including turn and termination areas, of a Federal Airway or
     approved off-airway route, that would increase the minimum obstacle clearance altitude.


     (5) The surface of a takeoff and landing area of an airport or any imaginary surface established under § 77.19, 77.21, or
     77.23. However, no part of the takeoff or landing area itself will be considered an obstruction.


(b) Except for traverse ways on or near an airport with an operative ground traffic control service furnished by an airport traffic
control tower or by the airport management and coordinated with the air traffic control service, the standards of paragraph (a)
of this section apply to traverse ways used or to be used for the passage of mobile objects only after the heights of these traverse
ways are increased by:


     (1) 17 feet for an Interstate Highway that is part of the National System of Military and Interstate Highways where
     overcrossings are designed for a minimum of 17 feet vertical distance.




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§ 77.17 Obstruction standards., 14 C.F.R. § 77.17




    (2) 15 feet for any other public roadway.


    (3) 10 feet or the height of the highest mobile object that would normally traverse the road, whichever is greater, for a
    private road.


    (4) 23 feet for a railroad.


    (5) For a waterway or any other traverse way not previously mentioned, an amount equal to the height of the highest mobile
    object that would normally traverse it.


SOURCE: Amdt. 77–13, 75 FR 42303, July 21, 2010; 76 FR 8628, Feb. 15, 2011, unless otherwise noted.


AUTHORITY: 49 U.S.C. 106 (g), 40103, 40113–40114, 44502, 44701, 44718, 46101–46102, 46104.


Current through July 12, 2022, 87 FR 41262. Some sections may be more current. See credits for details.

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§ 77.29 Evaluating aeronautical effect., 14 C.F.R. § 77.29




  Code of Federal Regulations
    Title 14. Aeronautics and Space
      Chapter I. Federal Aviation Administration, Department of Transportation
         Subchapter E. Airspace
            Part 77. Safe, Efficient Use, and Preservation of the Navigable Airspace (Refs & Annos)
               Subpart D. Aeronautical Studies and Determinations

                                                        14 C.F.R. § 77.29

                                             § 77.29 Evaluating aeronautical effect.

                                                   Effective: January 18, 2011
                                                           Currentness


(a) The FAA conducts an aeronautical study to determine the impact of a proposed structure, an existing structure that has not
yet been studied by the FAA, or an alteration of an existing structure on aeronautical operations, procedures, and the safety of
flight. These studies include evaluating:


     (1) The impact on arrival, departure, and en route procedures for aircraft operating under visual flight rules;


     (2) The impact on arrival, departure, and en route procedures for aircraft operating under instrument flight rules;


     (3) The impact on existing and planned public use airports;


     (4) Airport traffic capacity of existing public use airports and public use airport development plans received before the
     issuance of the final determination;


     (5) Minimum obstacle clearance altitudes, minimum instrument flight rules altitudes, approved or planned instrument
     approach procedures, and departure procedures;


     (6) The potential effect on ATC radar, direction finders, ATC tower line-of-sight visibility, and physical or electromagnetic
     effects on air navigation, communication facilities, and other surveillance systems;


     (7) The aeronautical effects resulting from the cumulative impact of a proposed construction or alteration of a structure
     when combined with the effects of other existing or proposed structures.


(b) If you withdraw the proposed construction or alteration or revise it so that it is no longer identified as an obstruction, or if
no further aeronautical study is necessary, the FAA may terminate the study.


SOURCE: Amdt. 77–13, 75 FR 42303, July 21, 2010; 76 FR 8628, Feb. 15, 2011, unless otherwise noted.




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§ 77.29 Evaluating aeronautical effect., 14 C.F.R. § 77.29




AUTHORITY: 49 U.S.C. 106 (g), 40103, 40113–40114, 44502, 44701, 44718, 46101–46102, 46104.


Current through July 12, 2022, 87 FR 41262. Some sections may be more current. See credits for details.

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§ 77.31 Determinations., 14 C.F.R. § 77.31




  Code of Federal Regulations
    Title 14. Aeronautics and Space
      Chapter I. Federal Aviation Administration, Department of Transportation
         Subchapter E. Airspace
            Part 77. Safe, Efficient Use, and Preservation of the Navigable Airspace (Refs & Annos)
               Subpart D. Aeronautical Studies and Determinations

                                                       14 C.F.R. § 77.31

                                                    § 77.31 Determinations.

                                                  Effective: January 18, 2011
                                                          Currentness


(a) The FAA will issue a determination stating whether the proposed construction or alteration would be a hazard to air
navigation, and will advise all known interested persons.


(b) The FAA will make determinations based on the aeronautical study findings and will identify the following:


    (1) The effects on VFR/IFR aeronautical departure/arrival operations, air traffic procedures, minimum flight altitudes, and
    existing, planned, or proposed airports listed in § 77.15(e) of which the FAA has received actual notice prior to issuance
    of a final determination.


    (2) The extent of the physical and/or electromagnetic effect on the operation of existing or proposed air navigation facilities,
    communication aids, or surveillance systems.


(c) The FAA will issue a Determination of Hazard to Air Navigation when the aeronautical study concludes that the proposed
construction or alteration will exceed an obstruction standard and would have a substantial aeronautical impact.


(d) A Determination of No Hazard to Air Navigation will be issued when the aeronautical study concludes that the proposed
construction or alteration will exceed an obstruction standard but would not have a substantial aeronautical impact to air
navigation. A Determination of No Hazard to Air Navigation may include the following:


    (1) Conditional provisions of a determination.


    (2) Limitations necessary to minimize potential problems, such as the use of temporary construction equipment.


    (3) Supplemental notice requirements, when required.


    (4) Marking and lighting recommendations, as appropriate.




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§ 77.31 Determinations., 14 C.F.R. § 77.31




(e) The FAA will issue a Determination of No Hazard to Air Navigation when a proposed structure does not exceed any of the
obstruction standards and would not be a hazard to air navigation.


SOURCE: Amdt. 77–13, 75 FR 42303, July 21, 2010; 76 FR 8628, Feb. 15, 2011, unless otherwise noted.


AUTHORITY: 49 U.S.C. 106 (g), 40103, 40113–40114, 44502, 44701, 44718, 46101–46102, 46104.


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§ 77.35 Extensions, terminations, revisions and corrections., 14 C.F.R. § 77.35




  Code of Federal Regulations
    Title 14. Aeronautics and Space
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         Subchapter E. Airspace
            Part 77. Safe, Efficient Use, and Preservation of the Navigable Airspace (Refs & Annos)
              Subpart D. Aeronautical Studies and Determinations

                                                        14 C.F.R. § 77.35

                                  § 77.35 Extensions, terminations, revisions and corrections.

                                                   Effective: January 18, 2011
                                                           Currentness


(a) You may petition the FAA official that issued the Determination of No Hazard to Air Navigation to revise or reconsider the
determination based on new facts or to extend the effective period of the determination, provided that:


     (1) Actual structural work of the proposed construction or alteration, such as the laying of a foundation, but not including
     excavation, has not been started; and


     (2) The petition is submitted at least 15 days before the expiration date of the Determination of No Hazard to Air Navigation.


(b) A Determination of No Hazard to Air Navigation issued for those construction or alteration proposals not requiring an FCC
construction permit may be extended by the FAA one time for a period not to exceed 18 months.


(c) A Determination of No Hazard to Air Navigation issued for a proposal requiring an FCC construction permit may be granted
extensions for up to 18 months, provided that:


     (1) You submit evidence that an application for a construction permit/license was filed with the FCC for the associated
     site within 6 months of issuance of the determination; and


     (2) You submit evidence that additional time is warranted because of FCC requirements; and


     (3) Where the FCC issues a construction permit, a final Determination of No Hazard to Air Navigation is effective until
     the date prescribed by the FCC for completion of the construction. If an extension of the original FCC completion date is
     needed, an extension of the FAA determination must be requested from the Obstruction Evaluation Service (OES).


     (4) If the Commission refuses to issue a construction permit, the final determination expires on the date of its refusal.


SOURCE: Amdt. 77–13, 75 FR 42303, July 21, 2010; 76 FR 8628, Feb. 15, 2011, unless otherwise noted.




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§ 77.35 Extensions, terminations, revisions and corrections., 14 C.F.R. § 77.35




AUTHORITY: 49 U.S.C. 106 (g), 40103, 40113–40114, 44502, 44701, 44718, 46101–46102, 46104.


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§ 77.37 General., 14 C.F.R. § 77.37




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               Subpart E. Petitions for Discretionary Review

                                                        14 C.F.R. § 77.37

                                                        § 77.37 General.

                                                   Effective: January 18, 2011
                                                           Currentness


(a) If you are the sponsor, provided a substantive aeronautical comment on a proposal in an aeronautical study, or have a
substantive aeronautical comment on the proposal but were not given an opportunity to state it, you may petition the FAA for
a discretionary review of a determination, revision, or extension of a determination issued by the FAA.


(b) You may not file a petition for discretionary review for a Determination of No Hazard that is issued for a temporary structure,
marking and lighting recommendation, or when a proposed structure or alteration does not exceed obstruction standards
contained in subpart C of this part.


SOURCE: Amdt. 77–13, 75 FR 42303, July 21, 2010; 76 FR 8628, Feb. 15, 2011, unless otherwise noted.


AUTHORITY: 49 U.S.C. 106 (g), 40103, 40113–40114, 44502, 44701, 44718, 46101–46102, 46104.


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§ 77.39 Contents of a petition., 14 C.F.R. § 77.39




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               Subpart E. Petitions for Discretionary Review

                                                      14 C.F.R. § 77.39

                                                § 77.39 Contents of a petition.

                                                 Effective: January 18, 2011
                                                         Currentness


(a) You must file a petition for discretionary review in writing and it must be received by the FAA within 30 days after the
issuance of a determination under § 77.31, or a revision or extension of the determination under § 77.35.


(b) The petition must contain a full statement of the aeronautical basis on which the petition is made, and must include new
information or facts not previously considered or presented during the aeronautical study, including valid aeronautical reasons
why the determination, revisions, or extension made by the FAA should be reviewed.


(c) In the event that the last day of the 30–day filing period falls on a weekend or a day the Federal government is closed, the
last day of the filing period is the next day that the government is open.


(d) The FAA will inform the petitioner or sponsor (if other than the petitioner) and the FCC (whenever an FCC–related proposal
is involved) of the filing of the petition and that the determination is not final pending disposition of the petition.


SOURCE: Amdt. 77–13, 75 FR 42303, July 21, 2010; 76 FR 8628, Feb. 15, 2011, unless otherwise noted.


AUTHORITY: 49 U.S.C. 106 (g), 40103, 40113–40114, 44502, 44701, 44718, 46101–46102, 46104.


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§ 77.41 Discretionary review results., 14 C.F.R. § 77.41




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            Part 77. Safe, Efficient Use, and Preservation of the Navigable Airspace (Refs & Annos)
               Subpart E. Petitions for Discretionary Review

                                                         14 C.F.R. § 77.41

                                               § 77.41 Discretionary review results.

                                                    Effective: January 18, 2011
                                                            Currentness


(a) If discretionary review is granted, the FAA will inform the petitioner and the sponsor (if other than the petitioner) of the
issues to be studied and reviewed. The review may include a request for comments and a review of all records from the initial
aeronautical study.


(b) If discretionary review is denied, the FAA will notify the petitioner and the sponsor (if other than the petitioner), and the FCC,
whenever a FCC–related proposal is involved, of the basis for the denial along with a statement that the determination is final.


(c) After concluding the discretionary review process, the FAA will revise, affirm, or reverse the determination.


SOURCE: Amdt. 77–13, 75 FR 42303, July 21, 2010; 76 FR 8628, Feb. 15, 2011, unless otherwise noted.


AUTHORITY: 49 U.S.C. 106 (g), 40103, 40113–40114, 44502, 44701, 44718, 46101–46102, 46104.


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                                                                                     ORDER
                                                                                    JO 7400.21
                                       Air Traffic Organization Policy
                                                                                     Effective Date:
                                                                                     -XQH


SUBJ:       Procedures for Handling Airspace Matters

 This order specifies procedures for use by all personnel in the joint administration of the airspace
 program. The guidance and procedures herein incorporate into one publication as many orders,
 notices, and directives of the affected services as possible. Although every effort has been made to
 prescribe complete procedures for the management of the different airspace programs, it is impossible
 to cover every circumstance. Therefore, when a situation arises for which there is no specific
 procedure covered in this order, personnel must exercise their best judgment.

 The order consists of six parts:

 a. Part 1 addresses general procedures applicable to airspace management.

 b. Part 2 addresses policy and procedures unique to Objects Affecting Navigable Airspace.

 c. Part 3 addresses policy and procedures unique to Airport Airspace Analysis.

 d. Part 4 addresses policy and procedures unique to Terminal and En Route Airspace.

 e. Part 5 addresses policy and procedures unique to Special Use Airspace.

 f. Part 6 addresses policy and procedures regarding the integration of Outdoor Laser Operations,
 High Intensity Light Operations, and integration of Rocket and Launch-Vehicle Operations into the
 National Airspace System.

Natasha A.       Digitally signed by
                 Natasha A. Durkins

Durkins          Date: 2021.05.13
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Distribution: Electronic                                                               Initiated By: AJV-0
                                                                 Vice President, Mission Support Services

                                                                                            Addendum 26
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5/19/22
6/17/21                                                                                               JO 7400.2N CHG 2
                                                                                                            JO 7400.2N



  Part 1. General Procedures for Airspace Management
                                      Chapter 1. General

                                    Section 1. Introduction

1−1−1. PURPOSE OF THIS ORDER                              ht t p: / / em p lo y e es . f aa . go v / to o ls _ r es o u rc e s/
                                                          orders_notices.
   a. This order prescribes policy, criteria, guide-
lines, and procedures applicable to the System
                                                          1−1−4. WHAT THIS ORDER CANCELS
Operations Services; Mission Support Services;
Aeronautical Information Services; Technical Opera-       FAA Order JO 7400.2M, Procedures for Handling
tions Services; Technical Operations Spectrum             Airspace Matters, dated February 28, 2019, and all
Engineering Services Group/Spectrum Assignment            changes to it are canceled.
and Engineering Team; Technical Operations
Technical Services; the Office of Airport Planning        1−1−5. CHANGE AUTHORITY
and Programming, (APP); the Office of Airport
                                                          The Director of Policy (AJV−P) will issue changes to
Safety and Standards, (AAS); Airports District
                                                          this directive after obtaining concurrence from the
Office (ADO); and the Flight Standards Service.
                                                          affected Headquarters offices/services/service units
   b. While this order provides procedures for            on the cover of this order.
handling airspace matters, additional procedures and
criteria to supplement those contained herein may be      1−1−6. EXPLANATION OF CHANGES
set forth in other directives and should be consulted.
                                                             a. The significant changes to this order are
                                                          identified in the Explanation of Changes page(s). It
1−1−2. AUDIENCE                                           is advisable to retain the page(s) throughout the
  a. This order applies to all ATO personnel and          duration of the basic order.
anyone using ATO directives.                                b. If further information is desired, please direct
                                                          questions through the appropriate facility/service
   b. This order also applies to all regional, Service
                                                          area/regional office to the headquarters office of
Centers, Instrument Flight Procedure (IFP) Service
                                                          primary responsibility.
Providers, and field organizational elements in-
volved in rulemaking and nonrulemaking actions
associated with airspace allocation and utilization,      1−1−7. SUBMISSION CUTOFF AND
obstruction evaluation, obstruction marking and           EFFECTIVE DATES
lighting, airport airspace analysis, and the manage-      This order and its changes are scheduled to be
ment of air navigation aids. States that participate in   published to coincide with AIRAC dates. However,
the State Block Grant Program (SBGP) assist the           due to the infrequent nature of changes submitted for
Office of Airport Safety and Standards in these           this order, publishing may be postponed.
actions, but the overall responsibility remains with
the Office of Airports. Participating states include                         Publication Schedule
Georgia, Illinois, Michigan, Missouri, New Hamp-                Basic or          Cutoff Date for Effective Date
shire, North Carolina, Pennsylvania, Tennessee,                 Change             Submission     of Publication
Texas, and Wisconsin.
                                                             JO 7400.2N               12/31/20                6/17/21
                                                               Change 1                6/17/21                12/2/21
1−1−3. WHERE TO FIND THIS ORDER
                                                               Change 2                12/2/21                5/19/22
This order is available on the FAA website
at http://www.faa.gov/air_traffic/publications and             Change 3                5/19/22                11/3/22



Introduction                                                                                                       1−1−1
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                                                                                                     JO 7400.2N



          Section 3. Identifying/Evaluating Aeronautical Effect

6−3−1. POLICY                                              departure, arrival and en route operations, proced-
                                                           ures, and minimum flight altitudes.
   a. The prime objective of the FAA in conducting
OE studies is to ensure the safety of air navigation,           3. Regarding physical, electromagnetic, or
and the efficient utilization of navigable airspace by     line−of−sight interference on existing or proposed air
aircraft. There are many demands being placed on           navigation, communications, radar, and control
the use of the navigable airspace. However, when           systems facilities.
conflicts arise concerning a structure being studied,           4. On airport capacity, as well as the cumulative
the FAA emphasizes the need for conserving the             impact resulting from the structure when combined
navigable airspace for aircraft; preserving the            with the impact of other existing or proposed
integrity of the national airspace system; and             structures.
protecting air navigation facilities from either
electromagnetic or physical encroachments that               b. Whether marking and/or lighting is necessary.
would preclude normal operation.
                                                           6−3−3. DETERMINING ADVERSE EFFECT
   b. In the case of such a conflicting demand for the
airspace by a proposed construction or alteration, the     If a structure first exceeds the obstruction standards
first consideration should be given to altering the        of Part 77, and/or is found to have physical or
proposal.                                                  electromagnetic radiation effect on the operation of
                                                           air navigation facilities, then the proposed or existing
   c. In the case of an existing structure, first          structure, if not amended, altered, or removed, has an
consideration should be given to adjusting the             adverse effect if it would:
aviation procedures to accommodate the structure.
This does not preclude issuing a “Determination Of           a. Require a change to an existing or planned IFR
Hazard To Air Navigation” on an existing structure         minimum flight altitude, a published or special
when the needed adjustment of aviation procedures          instrument procedure, or an IFR departure procedure.
could not be accomplished without a substantial               b. Require a VFR operation, to change its regular
adverse effect on aeronautical operations. In all          flight course or altitude. This does not apply to VFR
cases, consideration should be given to all known          military training route (VR) operations conducted
plans on file received by the end of the public            under Part 137, or operations conducted under a
comment period or before issuance of a determina-          waiver or exemption to the CFR.
tion if the case was not circularized.
                                                             c. Restrict the clear view of runways, helipads,
                                                           taxiways, or traffic patterns from the airport traffic
6−3−2. SCOPE                                               control tower cab.
Part 77 establishes standards for determining                d. Derogate airport capacity/efficiency.
obstructions to air navigation. A structure that
                                                             e. Affect future VFR and/or IFR operations as
exceeds one or more of these standards is presumed
                                                           indicated by plans on file.
to be a hazard to air navigation unless the aeronautical
study determines otherwise. An obstruction evalu-            f. Affect the usable length of an existing or
ation must identify:                                       planned runway.
  a. The effect the structure would have:
                                                           6−3−4. DETERMINING SIGNIFICANT
    1. On existing and proposed public−use, private        VOLUME OF ACTIVITY
use with at least one FAA−approved instrument
                                                           The type of activity must be considered in reaching
approach procedure, and DOD airports and/or
                                                           a decision on the question of what volume of
aeronautical facilities.
                                                           aeronautical activity is “significant.” For example, if
   2. On existing and proposed visual flight rule          one or more aeronautical operations per day would be
(VFR)/instrument flight rule (IFR) aeronautical            affected, this would indicate regular and continuing


Identifying/Evaluating Aeronautical Effect                                                               6−3−1
                                                                                                    Addendum 28
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activity, thus a significant volume no matter what the          4. Identify whether obstruction marking/
type of operation. However, an affected instrument          lighting are necessary and recommend the
procedure or minimum altitude may need to be used           appropriate marking and/or lighting.
only an average of once a week to be considered                  5. Identify when negotiations are necessary and
significant if the procedure is one which serves as the     conduct negotiations with the sponsor. This may be
primary procedure under certain conditions.                 done in conjunction with assistance from other
                                                            division/service area office personnel when their
                                                            subject expertise is required (for example, in cases of
6−3−5. SUBSTANTIAL ADVERSE EFFECT
                                                            electromagnetic interference).
A proposed structure would have, or an existing                 6. Identify when circularization is necessary
structure has, a substantial adverse effect if it causes    and conduct the required circularization process.
electromagnetic interference to the operation of an air
                                                                 7. Evaluate all valid aeronautical comments
navigation facility or the signal used by aircraft, or if
                                                            received as a result of the circularization and those
there is a combination of:
                                                            received as a result of the division evaluation.
  a. Adverse effect as described in paragraph                   8. Issue the determination (except as noted in
6−3−3; and                                                  paragraph 7−1−2, subparagraph b).
   b. A significant volume of aeronautical opera-             b. Regional Airports Division personnel must:
tions, as described in paragraph 6−3−4, would be                 1. Verify that the airport/runway database has
affected.                                                   been reviewed, is correct, and contains all plans on
                                                            file pertaining to the OE case.
6−3−6. RESPONSIBILITY                                            2. Identify the structure’s effect on existing and
                                                            planned airports or improvements to airports
The FAA’s obstruction evaluation program tran-              concerning airport design criteria including potential
scends organizational lines. In order to determine the      restrictions/impacts on airport operations, capacity,
effect of the structure within the required notice          efficiency and development, and making recommen-
period, each office should forward the results of its       dations for eliminating adverse effect. Airports
evaluation within 15 working days to the Obstruction        Divisions are not normally required to perform
Evaluation Group (OEG) for further processing. In           evaluations on OE cases that are beyond the lateral
cases of evaluating the effects of a proposed wind          limits of the Part 77 conical surface of a public−use
turbine farm, see Appendix 12 for field air traffic         or military airport.
control facility responsibility and procedures. Areas            3. Determine the effect on the efficient use of
of responsibility are delegated as follows:                 airports and the safety of persons and property on the
  a. OEG personnel must:                                    ground. Airports will resist structures and activities
                                                            that conflict with an airport’s planning and/or design.
    1. Identify when the structure exceeds Section               4. State what mitigations may be made to
77.17 (a)(1), (a)(2), and (a)(5) (see FIG 6−3−1 thru        mitigate or eliminate any adverse effect of the
FIG 6−3−6) and apply Section 77.17 (b) (see FIG             structure on existing or planned airports.
5−2−4).
                                                              c. IFP Service Providers must:
     2. Identify the effect on existing and planned             1. Identify when the structure exceeds Section
aeronautical operations, air traffic control proced-        77.17(a)(3).
ures, and airport traffic patterns and making
recommendations for mitigating adverse effect                   2. Identify the effect upon terminal area IFR
including marking and lighting recommendations.             operations, including transitions; holding; instru-
                                                            ment departure procedures; any segment of a
    3. Identify when the structure would adversely          Standard Instrument Approach Procedure (SIAP) or
affect published helicopter route operations as             Special Instrument Approach Procedure (IAP),
specified in paragraph 6−3−8 subparagraph e, of this        including proposed instrument procedures and
order, and forward the case to Flight Standards.            departure areas.


6−3−2                                                                   Identifying/Evaluating Aeronautical Effect
                                                                                                    Addendum 29
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    3. State what adjustments can be made to the             g. Technical Operations Services personnel must
procedure/structure to mitigate or eliminate any           identify any electromagnetic and/or physical effect
adverse effects of the structure on an instrument flight   on air navigation and communications facilities
procedure. Include a “no effect height” and/or survey      including:
accuracy that, if negotiated, would mitigate or
                                                                1. The presence of any electromagnetic effect in
eliminate adverse effect on an instrument flight
                                                           the frequency protected service volume of the
procedure.
                                                           facilities shown in FIG 6−3−16, FIG 6−3−17, and
  d. IFP Service Providers. In addition to 6−3−6c,         FIG 6−3−18.
the IFP Service Providers must:                                 2. The effect on the availability or quality of
    1. Identify when the structure exceeds Section         navigational or communications signals to or from
77.17(a)(4).                                               aircraft including lighting systems (for example,
                                                           VGSI), and making recommendations to eliminate
     2. Identify the effect on any IFR procedure           adverse effect.
which may include, but is not limited to: minimum en
                                                                3. The effect on ground−based communications
route altitudes (MEA); minimum obstruction
                                                           and NAVAID equipment, and the signal paths
clearance altitudes (MOCA); minimum IFR altitudes
                                                           between ground−based and airborne equipment, and
(MIA); minimum safe altitudes (MSA); minimum
                                                           making recommendations to eliminate adverse
crossing altitudes (MCA); minimum holding
                                                           effect.
altitudes (MHA); turning areas and termination
areas; and making recommendations for eliminating               4. The effect on the availability or quality of
adverse effect.                                            ground−based primary and secondary radar;
                                                           direction finders; and air traffic control tower
   e. Aeronautical Information Services’ Obstacle          line−of−sight visibility; and making recommenda-
Impact Team (OIT). In addition to 6−3−6c and d, the        tions to eliminate adverse effect.
IFP OIT must identify the effect on any IFR
procedure which may include minimum vectoring                   5. The effect of sunlight or artificial light
altitudes (MVA).                                           reflections, and making recommendations to elimin-
                                                           ate adverse effect.
   f. Flight Technologies and Procedures Division
                                                             h. Military personnel are responsible for evaluat-
(FTPD) personnel must identify the effect on
                                                           ing the effect on airspace and routes used by the
fixed−wing and helicopter VFR routes, terminal
                                                           military.
operations, and other concentrations of VFR traffic.
When requested by OEG, FTPD must also evaluate                i. Other applicable FAA offices or services may be
the mitigation of adverse effect on VFR operations         requested to provide an evaluation of the structure on
for marking and/or lighting of structures.                 a case−by−case basis.




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6−3−7. AIRPORT SURFACES AND                               evaluating the effect of a structure on an airway, a
CLEARANCE AREAS                                           feeder route, and/or an approved off−airway route
                                                          (direct route) as prescribed in the 8260.3 Order series.
  a. CIVIL AIRPORT SURFACES
     1. Civil airport imaginary surfaces are defined      6−3−8. EVALUATING EFFECT ON VFR
in Section 77.19 and are based on the category of each    OPERATIONS
runway according to the type of approach (visual,
nonprecision, or precision) available or planned for        a. PURPOSE. These guidelines are for use in
each runway end (see FIG 6−3−7). The appropriate          determining the effect of structures, whether
runway imaginary surface must be applied to the           proposed or existing, upon VFR aeronautical
primary surfaces related to the physical end of the       operations in the navigable airspace. The intent of
specific runway surface that is usable for either         these guidelines is to provide a basis for analytical
takeoff or landing.                                       judgments in evaluating the effect of structures on
                                                          VFR operations.
    2. Approach Surface Elevation − Use the
                                                            b. CONSIDERATIONS
runway centerline elevation at the runway threshold
and the elevation of the helipad as the elevation from         1. Minimum VFR Flight Altitudes. Minimum
which the approach surface begins (see Sections           VFR flight altitudes are prescribed by regulation.
77.19 and 77.23).                                         Generally speaking, from a VFR standpoint, the
                                                          navigable airspace includes all airspace 500 feet AGL
    3. Heliport imaginary surfaces are defined in
                                                          or greater and that airspace below 500 feet required
Section 77.23 and are based upon the size of the
                                                          for:
takeoff and landing area.
                                                                  (a) Takeoff and landing, including the airport
     4. Planned Airport/Runway Improvements −             traffic pattern.
Consider the planned runway threshold and approach
type when there is a plan on file with the FAA or with           (b) Flight over open water and sparsely
an appropriate military service to extend the runway      populated areas (an aircraft may not be operated
and/or upgrade its use or type of approach. The           closer than 500 feet to any person, vessel, vehicle, or
existing runway threshold and type of approach may        structure).
be used for temporary structures/equipment, as                  (c) Helicopter operations when the operation
appropriate.                                              may be conducted without hazard to persons and
   b. DOD AIRPORT SURFACES − The obstruc-                 property on the surface.
tion standards in Section 77.19, Civil Airport                  2. VFR Weather Minimums. Proposed or
Imaginary Surfaces, apply to civil operated joint−use     existing structures potentially have the greatest
airports. The obstruction standards in Section 77.21,     impact in those areas where VFR operations are
DOD Airport Imaginary Surfaces, are applicable            conducted when ceiling and/or visibility conditions
only to airports operated and controlled by a DOD         are at or near VFR weather minimums. Any structure
service of the United States, regardless of whether use   that would interfere with a significant volume of low
by civil aircraft is permitted.                           altitude flights by actually excluding or restricting
   c. TERMINAL OBSTACLE CLEARANCE                         VFR operations in a specific area would have a
AREA − The terminal obstacle clearance area               substantial adverse effect and may be considered a
specified in Section 77.17(a)(3) includes the initial,    hazard to air navigation.
intermediate, final, and missed approach segments of          3. Marking and/or Lighting of Structures. Not
an instrument approach procedure, and the circling        every structure penetrating the navigable airspace is
approach and instrument departure areas. The              considered to be a hazard to air navigation. Some may
applicable FAA approach and departure design              be marked and/or lighted so pilots can visually
criteria are contained in the 8260.3 Order series.        observe and avoid the structures.
  d. EN ROUTE OBSTACLE CLEARANCE                              4. Shielded Structures. A structure may be
AREA − The en route obstacle clearance area               “shielded” by being located in proximity to other
specified in Section 77.17(a)(4) is applicable when       permanent structures or terrain and would not, by


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itself, adversely affect aeronautical operations (see        c. EN ROUTE OPERATIONS. The area con-
paragraph 6−3−13).                                         sidered for en route VFR flight begins and ends
                                                           outside the airport traffic pattern airspace area or
      5. Height Of Structures. Structures are of
                                                           Class B, C, and D airspace areas.
concern to pilots during a climb after takeoff, low
altitude operations, and when descending to land.
                                                                1. A structure would have an adverse effect
Any structure greater than 500 feet AGL, or
                                                           upon VFR air navigation if its height is greater than
structures of any height which would affect landing
                                                           499 feet above the surface at its site, and within 2
and takeoff operations, requires extensive evaluation
                                                           statute miles of any regularly used VFR route (see
to determine the extent of adverse effect on VFR
                                                           FIG 6−3−8).
aeronautical operations.
    6. Airport Traffic Patterns. The primary concern            2. Evaluation of obstructions located within
regarding structures in airport traffic pattern areas is   VFR routes must recognize that pilots may, and
whether they would create a dangerous situation            sometimes do, operate below the floor of controlled
during a critical phase of flight.                         airspace during low ceilings and 1−mile flight
                                                           visibility. When operating in these weather condi-
     7. Class B and C Airspace. Structures that
                                                           tions and using pilotage navigation, these flights
exceed obstruction standards in areas available for
                                                           must remain within 1 mile of the identifiable
VFR flight below the floor of Class B or C airspace
                                                           landmark to maintain visual reference. Even if made
areas require careful evaluation. Class B and C
                                                           more conspicuous by the installation of high intensity
airspace areas are designed to provide a more
                                                           white obstruction lights, a structure placed in this
regulated environment for IFR and VFR traffic in and
                                                           location could be a hazard to air navigation because
around certain airports. Consequently, the floors of
                                                           after sighting it, the pilot may not have the
some Class B and C areas compress VFR operations
                                                           opportunity to safely circumnavigate or overfly the
into airspace of limited size and minimum altitude
                                                           structure.
availability.
      8. VFR Routes. Pilots operating VFR fre-                   3. VFR DOD TRAINING ROUTES (VR) −
quently fly routes that follow rivers, coastlines,         Operations on VRs provide DOD aircrews low
mountain passes, valleys, and similar types of natural     altitude, high speed navigation and tactics training,
landmarks or major highways, railroads, powerlines,        and are a basic requirement for combat readiness (see
canals, and other manmade structures. A VFR route          FAA Order JO 7610.4, Special Operations). Surface
may also be comprised of specific radials of a Very        structures have their greatest impact on VFR
High Frequency Omnidirectional Range (VOR).                operations when ceiling and visibility conditions are
These routes may correspond to an established              at or near basic VFR minimums. Accordingly, the
Federal Airway, direct radials between navigation          guidelines for a finding of substantial adverse effect
facilities, or a single radial providing transition to a   on en route VFR operations are based on
route predicated on visual aids. While there may be        consideration for those operations conducted under
established minimum en route altitudes for segments        Part 91 that permits flight clear of clouds with 1 mile
of these routes and navigation is dependent upon           flight visibility outside controlled airspace. In
adequate signal reception, a VFR pilot may fly at an       contrast, flight along VRs can be conducted only
altitude below the established minimum altitude in         when weather conditions equal or exceed 3,000 feet
order to maintain visual contact with the ground. The      ceiling and 5 miles visibility. A proposed structure’s
basic consideration in evaluating the effect of            location on a VR is not a basis for determining it to
obstructions on operations along these routes is           be a hazard to air navigation; however, in recognition
whether pilots would be able to visually observe and       of the DOD’s requirement to conduct low altitude
avoid them during marginal VFR weather conditions.         training, disseminate Part 77 notices and aeronautical
At least 1−mile flight visibility is required for VFR      study information to DOD representatives. Addition-
operations beneath the floor of controlled airspace.       ally, attempt to persuade the sponsor to lower or
This means that a surface reference used for VFR low       relocate a proposed structure that exceeds obstruction
altitude flight must be horizontally visible to pilots     standards and has been identified by the DOD as
for a minimum of 1 mile.                                   detrimental to its training requirement.


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  d. AIRPORT AREAS − Consider the following                       (e) Beyond the lateral limits of the conical
when determining the effect of structures on VFR           surface and not in the climb/descent area of any
operations near airports:                                  runway − 499 feet above airport elevation (AE) not to
                                                           exceed 499 feet AGL.
     1. Traffic Pattern Airspace − There are many
variables that influence the establishment of airport             (f) An existing structure (that has been
arrival and departure traffic flows. Structures in the     previously studied by the FAA), terrain, or a
traffic pattern airspace may adversely affect air          proposed structure (that would be shielded by
navigation by being a physical obstruction to air          existing structures) may not be considered to have a
navigation or by distracting a pilot’s attention during    substantial adverse effect. In such instances, the
a critical phase of flight. The categories of aircraft     traffic pattern may be adjusted as needed on a
using the airport determine airport traffic pattern        case−by−case basis.
airspace dimensions.                                              (g) Exceptions may be made on a case−by−
      (a) Traffic Pattern Airspace dimensions (See         case basis when the surrounding terrain is
FIG 6−3−9).                                                significantly higher than the airport elevation, the
                                                           established traffic pattern altitude is less than 800 feet
       (b) Within Traffic Pattern Airspace − A             above airport elevation or “density altitude” is a
structure that exceeds a 14 CFR, Part 77 obstruction       consideration.
standard and that exceeds any of the following
heights is considered to have an adverse effect and            2. Terminal Transition Routes − A structure
would have a substantial adverse effect if a significant   would have an adverse effect upon VFR air
volume of VFR aeronautical operations are affected         navigation if it:
except as noted in paragraph 6−3−8 d.1.(f) and (g)                (a) Exceeds a height of 499 feet above the
(see FIG 6−3−10).                                          surface at its site; and
       (c) The height of the transition surface (other            (b) Is located within 2 statute miles of the
than abeam the runway), the approach slope (up to the      centerline of any regularly used VFR route (see
height of the horizontal surface), the horizontal          FIG 6−3−8).
surface, and the conical surface (as applied to visual
approach runways, Section 77.19).                               3. VFR Approach Surface Slope Ratios − A
                                                           structure would have an adverse effect upon VFR air
        (d) Beyond the lateral limits of the conical       navigation if it penetrates the approach surface slope
surface and in the climb/descent area − 350 feet above     of any runway. The following slope ratios are applied
airport elevation or the height of 14 CFR Section          to the end of the primary surface:
77.17(a)(2), whichever is greater not to exceed 499
feet above ground level (AGL). The climb/descent                  (a) 20:1 for civil visual approaches.
area begins abeam the runway threshold being used                 (b) 50:1 for DOD runway approaches.
and is the area where the pilot is either descending to
                                                                  (c) 8:1 for civil helicopter approaches
land on the runway or climbing to pattern altitude
                                                           surfaces.
after departure. (The area extending outward from a
line perpendicular to the runway at the threshold, see            (d) 10:1 for DOD helicopter approach
FIG 6−3−11).                                               surfaces.




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   e. HELICOPTERS − The special maneuvering                  navigation must not be based upon a structure’s effect
characteristics of helicopters are recognized in             on aeronautical operations conducted under a waiver
Sections 91.119 and 91.155, provided operations are          or exemption to CFR operating rules.
conducted without hazard to persons or property on
the ground. Helicopter pilots must also operate at a         6−3−9. EVALUATING EFFECT ON IFR
speed that will allow them to see and avoid                  OPERATIONS
obstructions. Consequently, proposed or existing
structures are not considered factors in determining           a. PURPOSE. This section provides general
adverse effect upon helicopter VFR operations                guidelines for determining the effect of structures,
except as follows:                                           whether proposed or existing, upon IFR aeronautical
                                                             operations.
     1. En route. When the Administrator prescribes
routes and altitudes for helicopters, the exemptions to         b. STANDARDS. Obstruction standards are used
Part 91 for helicopters do not apply. Thus, any              to identify potential adverse effects and are not the
structure would have an adverse effect if it penetrates      basis for a determination. The criteria used in
an imaginary surface 300 feet below an established           determining the extent of adverse affect are those
helicopter minimum flight altitude and is located            established by the FAA to satisfy operational,
within 250 feet either side of the established route’s       procedural, and electromagnetic requirements. These
centerline.                                                  criteria are contained in regulations, advisory
                                                             circulars, and orders (for example, the 8260 Order
     2. Heliport Landing/Takeoff Area. Any struc-
                                                             series and FAA Order JO 7110.65). Obstruction
ture would have an adverse effect if it would exceed
                                                             evaluation personnel must apply these criteria in
any of the heliport imaginary surfaces. Although
                                                             evaluating the extent of adverse effect to determine if
helicopter approach−departure paths may curve, the
                                                             the structure being studied would actually have a
length of the approach−departure surface remains
                                                             substantial adverse effect and would constitute a
fixed.
                                                             hazard to air navigation.
  f. AGRICULTURAL AND INSPECTION
                                                                c. IFR MINIMUM FLIGHT ALTITUDES. Tech-
AIRCRAFT OPERATIONS − Rules that apply to
                                                             nical Operations Aviation System Standards is the
agricultural dispensing operations, as prescribed in
                                                             principal FAA element responsible for establishing
Part 137, allow deviation from Part 91 altitude
                                                             instrument procedures and minimum altitudes for
restrictions. It is the pilot’s responsibility to avoid
                                                             IFR operations. FPT personnel must evaluate the
obstacles because the agricultural operations must be
                                                             effect of proposed structures on IFR aeronautical
conducted without creating a hazard to persons or
                                                             operations as outlined in Order 8260.19, Flight
property on the surface. Similar operations include
                                                             Procedures and Airspace.
pipeline, power line, and military low−level route
inspections. Consequently, these operations are not            d. EN ROUTE IFR OPERATIONS
considered in reaching a determination of substantial
                                                                  1. Minimum En Route Altitudes (MEA). MEAs
adverse effect.
                                                             are established for each segment of an airway or an
NOTE−                                                        approved route based upon obstacle clearance,
Before and after the dispensing is completed, the pilot is   navigational signal reception, and communications.
required to operate under the Part 91 minimum altitudes.     The MEA assures obstruction clearance and
  g. OPERATIONS UNDER WAIVER OR                              acceptable navigational signal coverage over the
EXEMPTION TO CFR − Waivers and/or exemptions                 entire airway or route segment flown. Any structure
to CFR operating rules include provisions to ensure          that will require an MEA to be raised has an adverse
achievement of a level of safety equivalent to that          effect. Careful analysis by the appropriate IFP
which would be present when complying with the               Service Provider and air traffic personnel is necessary
regulation waived or exempted. Additionally,                 to determine if there would be a substantial adverse
waivers and exemptions do not relieve pilots of their        effect on the navigable airspace. Generally, the loss
responsibility to conduct operations without creating        of a cardinal altitude is considered a substantial
a hazard to persons and property on the surface.             adverse effect. However, the effect may not be
Accordingly, a determination of hazard to air                substantial if the aeronautical study discloses that the


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affected MEA is not normally flown by aircraft, nor        U.S. Air Force to evaluate bomber crew proficiency.
used for air traffic control purposes                      They provide accurate radar records for aircraft flying
                                                           at low altitudes attacking simulated targets along the
     2. Minimum Obstruction Clearance Altitudes
                                                           RBS scoring line. An obstruction located within the
(MOCA). MOCAs assure obstacle clearance over the
                                                           flights’ RBS boundaries may have a substantial
entire route segment to which they apply and assure
                                                           adverse effect and a serious operational impact on
navigational signal coverage within 22 NM of the
                                                           military training capability.
associated VOR navigational facility. For that
portion of the route segment beyond 22 NM from the           e. TERMINAL AREA IFR OPERATIONS. The
VOR, where the MOCA is lower than the MEA and              obstruction standards contained in Part 77 are also
there are no plans to lower the MEA to the MOCA,           used to identify obstructions within terminal obstacle
a structure that affects only the MOCA would not be        clearance areas. Any structure identified as an
considered to have substantial adverse effect. Other       obstruction is considered to have an adverse effect;
situations require study as ATC may assign altitudes       however, there is no clear−cut formula to determine
down to the MOCA under certain conditions.                 what extent of adverse effect is considered
                                                           substantial. Instrument approach and departure
      3. Minimum IFR Altitudes (MIA). These                procedures are established in accordance with
altitudes are established in accordance with Order         published obstacle clearance guidelines and criteria.
7210.37, En Route Minimum IFR Altitude Sector              However, there are segments of instrument approach
Charts, to provide the controller with minimum IFR         procedures where the minimum altitudes may be
altitude information for off−airway operations. MIAs       revised without substantially effecting landing
provide the minimum obstacle clearance and are             minimums. Thus, the determination must represent a
established without respect to flight−checked radar or     decision based on the best facts that can be obtained
normal radar coverage. Any structure that would            during the aeronautical study.
cause an increase in a MIA is an obstruction, and
further study is required to determine the extent of            1. Standard Instrument Approach Procedures
adverse effect. Radar coverage adequate to vector          (SIAP)/Special IAP. IFP Service Providers are
around such a structure is not, of itself, sufficient to   responsible for evaluating the effect of structures
mitigate a finding of substantial adverse effect that      upon any segment of, or departure restriction
would otherwise be the basis for a determination of        associated with, any FAA approved procedure they
hazard to air navigation.                                  maintain. However, all personnel involved in the
                                                           obstruction evaluation process should be familiar
     4. IFR Military Training Routes (IRs) −               with all aspects of the terminal area IFR operations
Operations on IR’s provide pilots with training for        being considered. If any IFP Service Provider
low altitude navigation and tactics (see FAA               determines a structure will affect instrument flight
Order JO 7610.4, Special Operations). Flight along         procedures, their evaluation should include those
these routes can be conducted below the minimum            procedural adjustments that can be made without
IFR altitude specified in Part 91, and the military        adversely affecting IFR operations. When the study
conducts operational flight evaluations of each route      discloses that procedural adjustments to reduce or
to ensure compatibility with their obstructions            mitigate any adverse effect cannot be accomplished,
clearance requirements. A proposed structure’s             then the comments to OEG must identify the
location on an IR is not a basis for determining it to     significance of this effect on the procedure.
be a hazard to air navigation; however, in recognition
                                                           NOTE−
of the military’s requirement to conduct low altitude      This paragraph applies to any SIAP and Special IAP at
training, disseminate Part 77 notices and aeronautical     public−use and private−use airports.
study information to military representatives.
                                                                2. Minimum Vectoring Altitudes (MVA). These
Additionally, attempt to persuade the sponsor to
                                                           altitudes are based upon obstruction clearance
lower, or relocate proposed structures that exceed
                                                           requirements only (see Order 8260.19). The area
obstruction standards and have been identified by the
                                                           considered for obstacle clearance is the normal
military as detrimental to their training requirement.
                                                           operational use of the radar without regard to the
     5. Radar Bomb Sites (RBS) − These sites are a         flight−checked radar coverage. It is the responsibility
vital link in the low level training network used by the   of individual controllers to determine that a target


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return is adequate for radar control purposes. MVAs       increased to 30 miles under certain conditions), or
are developed by terminal facilities, approved by the     Emergency Safe Altitudes, established within a
Terminal Procedures and Charting Group and                100−mile radius of the navigation facility and
published for controllers on MVA Sector Charts. Any       normally used only in military procedures at the
structure that would cause an increase in an MVA is       option of the approval authority. These altitudes are
an obstruction and a study is required to determine the   designed for emergency use only and are not
extent of adverse effect. Radar coverage adequate to      routinely used by pilots or by air traffic control.
vector around such a structure is not, of itself,         Consequently, they are not considered a factor in
sufficient to mitigate a finding of substantial adverse   determining the extent of adverse effect, used as the
effect that would otherwise be the basis for a            basis of a determination, or addressed in the public
determination of hazard to air navigation.                notice of an aeronautical study.
     3. Military Airports. With the exception of the        f. CONSIDERING ACCURACY. Experience has
U.S. Army, the appropriate military commands              shown that submissions often contain elevation
establish and approve terminal instrument proced-         and/or location errors. For this reason, the IFP
ures for airports under their respective jurisdictions.   Service Providers use vertical and horizontal
Consequently, the OEG must ensure that the military       accuracy adjustments, as reflected below, to
organizations are provided the opportunity to             determine the effect on IFR operations.
evaluate a structure that may affect their operations.         1. Accuracy Application − Current directives
While the military has the responsibility for             require the IFP Service Provider to apply accuracy
determining the effect of a structure, it is expected     standards to obstacles when evaluating effects on
that the FPT will assist air traffic in reconciling       instrument procedures. These accuracy standards
differences in the military findings.                     typically require an adjustment of 50 feet vertically
                                                          and 250 feet horizontally to be applied in the most
     4. Departure Procedures. TERPS, Chapter 12,
                                                          critical direction. Normally, these adjustments are
Civil Utilization of Area Navigation (RNAV)
                                                          applied to those structures that may become the
Departure Procedures, contains criteria for the
                                                          controlling obstructions and are applicable until their
development of IFR departure procedures. An
                                                          elevation and location are verified by survey.
obstacle that penetrates the 40:1 departure slope is
considered to be an obstruction to air navigation.             2. Certified Accuracy − The IFP Service
Further study is required to determine if adverse         Provider must notify OEG whenever certified
effect exists. Any proposed obstacle that penetrates      accuracy would lessen the adverse effect upon IFR
the 40:1 departure slope, originating at the departure    procedures. The OEG will review and determine
end of runway (DER) by up to 35 feet will be              whether to request a surveyed verification of the
circularized. If an obstacle penetrates the 40:1          elevation and location. The acceptable accuracy
departure slope by more than 35 feet, it is presumed      verification method must be provided and certified
to be a hazard, and a Notice of Presumed Hazard will      by a licensed engineer or surveyor. The survey must
be issued, and processed accordingly. Analysis by the     include the plus or minus accuracy required, as well
Terminal Procedures and Charting Group and air            as the signature of the engineer/surveyor and the
traffic personnel is necessary to determine if there      appropriate seal.
would be a substantial adverse effect on the navigable         3. Determination − A final determination based
airspace.                                                 on improved accuracy must not be issued until after
     5. Minimum Safe Altitudes (MSA). A MSA is            the certified survey is received and evaluated by the
the minimum obstacle clearance altitude for               OEG.
emergency use within a specified distance from the             4. Survey Information Distribution − When the
navigation facility upon which a procedure is             certified survey is received, OEG personnel must
predicated. These are either Minimum Sector               ensure that the survey information is uploaded into
Altitudes, established for all procedures within a        the OE/AAA system and change the accuracy code
25−mile radius of the navigational facility (may be       within the study as appropriate.




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6−3−10. EVALUATING EFFECT ON AIR                           array are potential sources of reflections and/or
NAVIGATION AND COMMUNICATION                               re−radiation that may affect facility operation. The
FACILITIES                                                 shape and intensity of such reflections and/or
                                                           re−radiation depends upon the size of the reflecting
   a. The FAA is authorized to establish, operate, and     surface and distance from the localizer antenna. The
maintain air navigation and communications facilit-        angle of incidence reflection in the azimuth plane
ies and to protect such facilities from interference.      generally follows the rules of basic optical reflection.
During the evaluation of structures, factors that may      Normally, in order to affect the course, the reflections
adversely affect any portion or component of the           must come from structures that lie in or near the
NAS must be considered. Since an electromagnetic           on−course signal. Large mass structures of any
interference potential may create adverse effects as       type, including metallic fences or powerlines,
serious as those caused by a physical penetration of       within plus/minus 15 degrees of extended centerline
the airspace by a structure, those effects must be         up to 1 NM from the approach end of the runway and
identified and stated. Proposals will be handled,          any obstruction within 500 feet of the localizer
when appropriate, directly with FCC through                antenna array must be studied carefully. (Refer to
Technical Operations Spectrum Engineering Ser-             FAA Order 6750.16, Siting Criteria for Instrument
vices Group/Spectrum Assignment and Engineering            Landing Systems).
Team.
   b. Technical operations services personnel must                (b) ILS Glide Slope. Vertical surfaces within
evaluate notices to determine if the structure will        approximately 1,000 feet of the runway centerline
affect the performance of existing or proposed NAS         and located up to 3,000 feet forward of the glide slope
facilities. The study must also include any plans for      antenna can cause harmful reflections. Most
future facilities, proposed airports, or improvements      interference to the glide slope are caused by
to existing airports.                                      discontinuities in the ground surface, described
                                                           approximately as a rectangular area 1,000 feet wide
   c. The physical presence of a structure and/or the      by 5,000 feet long, extending forward from the glide
electromagnetic signals emanating or reflecting there      slope antenna and centered at about the runway
from may have a substantial adverse effect on the          centerline. Discontinuities are usually in the form
availability, or quality of navigational and commu-        of rough terrain or buildings (refer to FAA
nications signals, or on air traffic services needed for   Order 6750.16, Siting Criteria for Instrument
the safe operation of aircraft. The following general      Landing Systems).
guidelines are provided to assist in determining the
anticipated interference.                                       2. Very High Frequency Omni−Directional
     1. Instrument Landing System (ILS) − Trans-           Radio Range and Tactical Air Navigation Aid
mitting antennas are potential sources of                  (VOR/TACAN). Usually, there should be no
electromagnetic interference that may effect the           reflecting structures or heavy vegetation (trees,
operation of aircraft using an ILS facility. The           brush, etc.) within a 1,000 foot radius of the VOR or
antenna height, radiation pattern, operating fre-          the TACAN antenna. Interference may occur from
quency, effective radiated power (ERP), and its            large structures or powerlines up to 2 NM from the
proximity to the runway centerline are all factors         antenna. Wind turbines are a special case, in that they
contributing to the possibility of interference.           may cause interference up to 8 NM from the antenna.
Normally, any structure supporting a transmitting          (Refer to FAA Order 6820.10, VOR, VOR/DME, and
antenna within the established localizer and/or            TACAN Siting Criteria).
glide−slope service volume area must be studied
carefully. However, extremes in structure height,               3. Air Route Surveillance Radar/Airport Sur-
ERP, frequency, and/or antenna radiation pattern may       veillance Radar (ARSR/ASR). Normally, there
require careful study of structures up to 30 NM from       should be no reflecting structures within a 1,500−foot
the ILS frequency’s protected service volume area.         radius of the radar antenna. In addition, large
                                                           reflective structures up to 3 NM from the antenna can
      (a) ILS Localizer. Large mass structures             cause interference unless they are in the “shadow” of
adjacent to the localizer course and/or antenna            topographic features. Wind turbines are a special


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case, in that they may cause interference up to the        crown of the road; the clearance for railroads must be
limits of the radar line of site.                          measured from the top of the rails. For vehicle
                                                           parking areas, clearance must be measured from the
     4. Air Traffic Control Radar Beacon (ATCRB).          average grade in the vicinity of the highest point.
The effects encountered due to reflections of the          Relative to airport service roads substantial adverse
secondary radar main lobe are more serious than            effect can be eliminated if all vehicular traffic is
those associated with primary radar. Therefore, it is      controlled or managed by the air traffic control
necessary to ensure that no large vertical reflecting      facility. A clear line−of−sight is required to all lights
surface penetrates a 1,500−foot radius horizontal          in the system from any point on a surface, one−half
plane located 25 feet below the antenna platform. In       degree below the aircraft descent path and extending
addition, interference may occur from large                250 feet each side of the runway centerline, up to
structures up to 12 miles away from the antenna. This      1,600 feet in advance of the outermost light in the
distance will depend on the area of the reflecting         system. The effect of parked or taxiing aircraft must
surface, the reflection coefficient of the surface,        also be considered when evaluating line−of−sight for
and its elevation with respect to the interrogator         approach lighting systems.
antenna. (Refer to FAA Order 6310.6, Primary/Sec-
ondary Terminal Radar Siting Handbook).                         8. Visual Approach Slope Indicator
                                                           (VASI)/Precision Approach Path Indicator (PAPI).
     5. Directional Finder (DF). The DF antenna site       No structures or obstructions must be placed within
should be free of structures that will obstruct            the clearance zone for the particular site involved or
line−of−sight with aircraft at low altitudes. The          the projected visual glide path.
vicinity within 300 feet of the antenna should be free
of metallic structures which can act as re−radiators.      NOTE−
                                                           VASI and PAPA now fall under the heading of VGSI.
    6. Communication Facilities. Minimum desir-                 9. Runway End Identifier Lights (REIL). No
able distances to prevent interference problems            structures or obstructions must be placed within the
between communication facilities and other                 established clearance zone.
construction are:
                                                              d. Factors that modify the evaluation criteria
       (a) 1,000 feet from power transmission lines        guidelines require consideration. Some facility
(other than those serving the facility) and other radio    signal areas are more susceptible to interference than
or radar facilities.                                       others. The operational status of some signals may
       (b) 300 feet from areas of high vehicle             already be marginal because of existing interference
activity such as highways, busy roads, and large           from other structures. In addition, the following
parking areas.                                             characteristics of structures must be considered:

       (c) One (1) NM from commercial broadcast-                1. The higher the structure’s height is in relation
ing stations (e.g., FM, TV).                               to the antenna, the greater the chance of interfering
                                                           reflections. Any structure subtending a vertical angle
     7. Approach Lighting System. No structure,            greater than one degree from the facility is usually
except the localizer antenna, the localizer far field      cause for concern. Tall structures, such as radio
monitor antenna, or the marker antenna must                towers and grain elevators, can interfere from
protrude above the approach light plane. For               distances greater than those listed in the general
approach light plane clearance purposes, all roads,        criteria.
highways, vehicle parking areas, and railroads must
                                                                2. The type of construction material on the
be considered as vertical solid structures. The
                                                           reflecting surface of the structure is a factor, with
clearance required above interstate highways is 17
                                                           nonmetallic surfaces being less troublesome than
feet; above railroads, 23 feet; and for all other public
                                                           metallic or metallic impregnated glass.
roads, highways, and vehicle parking areas, 15 feet.
The clearance required for a private road is 10 feet or         3. Aircraft hangars with large doors can be a
the highest mobile structure that would normally use       special problem because the reflecting surface of the
the road, which would exceed 10 feet. The clearance        hangar varies appreciably with changes in the
for roads and highways must be measured from the           position of the doors.


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     4. Interference is usually caused by mirror            planned airport projects, national airport plan data,
reflections from surfaces on the structure. Orientation     and land−use planning studies in the vicinity of the
of the structure therefore plays an important part in       structure. The results of the study forwarded to air
the extent of the interference. Reflections of the          traffic must include appropriate comments regarding
largest amplitude will come from signals striking a         the extent of Federal aid, sponsor airport investments,
surface perpendicular to the signals. Signals striking      the airport owner’s obligations in existing grant−in−
a surface at a shallow angle will have a smaller            aid agreements, and anticipated aeronautical activity
amplitude.                                                  at the airport and in the general area. If a structure
                                                            would adversely impact an airport’s efficiency,
  e. Air traffic personnel must request technical           utility, or capacity, the responsible Airports Office
operations services personnel to assist them in             should document this impact in its evaluation.
discussions with sponsors to explore alternatives to        Comments should include recommended new
resolve the prospective adverse effects to facilities.      location(s) for the structure as appropriate.
These may involve design revisions, relocation, or
reorientation depending on the character of the                b. New Airport Development. When a structure
construction and facility involved.                         requiring notice under Part 77 and any new airport
                                                            development are both in the same vicinity, Airports
   f. Attempt to resolve electromagnetic interference       personnel must study the interrelationship of the
(EMI) before issuing a hazard determination. Notify         structure and the airport. Additionally, supplemental
the sponsor by letter (automated DPH letter) that the       information on the proposed airport site must be
structure may create harmful EMI and include in the         furnished to the OEG. If a substantial adverse effect
letter the formula and values that were applied, the        is anticipated, Airports personnel must provide
specific adverse effects expected, and an offer to          detailed comments and specific recommendations for
consider alternatives. Provide the sponsor, as well as      mitigating the adverse effects.
the FAA, ample time to exhaust all available avenues
for positive resolution. The intent of this process is to
allow the sponsor adequate time to consider the             6−3−12. EVALUATING TEMPORARY
problems and the alternatives before a decision is          CONSTRUCTION
rendered by the issuance of the FAA determination.             a. Temporary Construction Equipment. Construc-
Follow these guidelines in all situations where             tion of structures normally requires use of temporary
harmful EMI is projected by the study.                      construction equipment that is of a greater height than
                                                            the proposed structure. Appropriate action is
6−3−11. EVALUATING PLANNED OR                               necessary to ensure that the temporary construction
FUTURE AIRPORT DEVELOPMENT                                  equipment does not present a hazard to air navigation.
PROGRAMS                                                    It is not possible to set forth criteria applicable to
                                                            every situation; however, the following action
The national system of airports consists of public,         examples may help to minimize potential problems:
civil, and joint−use airport facilities considered
                                                                 1. If use of the temporary construction
necessary to adequately meet the anticipated needs of
                                                            equipment is on an airport, it may be necessary to
civil aeronautics. Airport Planning and Programming
                                                            negotiate with airport managers/owners to close a
Offices are the most accurate sources of up−to−date
                                                            runway, taxiway, temporarily move a runway
information on airport development plans. Con-
                                                            threshold, or take other similar action.
sequently, Airports personnel are expected to
extensively review structures in reference to the safe           2. Negotiate with equipment operators to raise
and orderly development of airport facilities,              and lower cranes, derricks, or other construction
including what development will realistically be            equipment when weather conditions go below
accomplished within a reasonable time. Areas of             predetermined minimums as necessary for air traffic
consideration in accomplishing this responsibility          operations or as appropriate for the airport runways
are:                                                        in use.
  a. Future Development of Existing Airports. A                 3. Control the movement of construction
detailed review in this area requires looking at current    vehicle traffic on airports.


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     4. Adjust minimum IFR altitudes or instrument         structures of equal or greater height than the structure
procedures as necessary to accommodate the                 under study; and
construction equipment if such action will not have             2. The structure(s) providing the shielding
serious adverse effects on aeronautical operations.        protection is/are of a permanent nature and there are
    5. Request that the temporary construction             no plans on file with the FAA for the removal or
equipment be properly marked and/or lighted if             alteration of the structure(s).
needed.                                                       d. Guidelines. Any proposed construction of or
                                                           alteration to an existing structure is normally
   b. Temporary Structures − OE notices for                considered to be physically shielded by one or more
temporary structures are processed in the same             existing permanent structure(s), natural terrain, or
manner as a permanent structure, but require special       topographic feature(s) of equal or greater height if the
consideration in determining the extent of adverse         structure under consideration is located:
effect. This is especially true of structures such as
cranes and derricks that may only be at a particular            1. Not more than 500 feet horizontal distance
site for a short time period. As a general policy, it is   from the shielding structure(s) and in the congested
considered in the public interest to make whatever         area of a city, town, or settlement, provided the
adjustments necessary to accommodate the                   shielded structure is not located closer than the
temporary structure of 30 days or less if there is no      shielding structures to any heliport or airport located
substantial adverse affect on aeronautical                 within 5 miles of the structure(s).
operations or procedures. However, this policy does             2. Such that there would be at least one such
not apply if the aeronautical study discloses that         shielding structure situated on at least three sides of
the structure would be a hazard to aviation.               the shielded structure at a horizontal distance of not
Reasonable adjustments in aeronautical operations          more than 500 feet.
and modifications to the temporary structure
should be given equal consideration.                            3. Within the lateral dimensions of any runway
                                                           approach surface but would not exceed an overall
                                                           height above the established airport elevation greater
6−3−13. CONSIDERING SHIELDING                              than that of the outer extremity of the approach
                                                           surface, and located within, but would not penetrate,
Shielding as described below should not be confused        the shadow plane(s) of the shielding structure(s).
with notice criteria as stated in Section 77.9(e).           e. OEG must coordinate with FPT before applying
                                                           shielding criteria for precision approach surface
   a. Consideration. Shielding is one of many factors
                                                           penetrations.
that must be considered in determining the physical
effect a structure may have upon aeronautical              NOTE−
operations and procedures. Good judgment, in               See FIG 6−3−7 and FIG 6−3−12.
addition to the circumstances of location and flight
activity, will influence how this factor is considered     6−3−14. CONSIDERING SHADOW PLANE
in determining whether proposed or existing                The term “shadow plane” means a surface originating
structures would be physically shielded.                   at a horizontal line passing through the top of the
                                                           shielding structure at right angles to a straight line
  b. Principle. The basic principle in applying the
                                                           extending from the top of the shielding structure to
shielding guidelines is whether the location and
                                                           the end of the runway. The shadow plane has a width
height of the structures are such that aircraft, when
                                                           equal to the projection of the shielding structure’s
operating with due regard for the shielding structure,
                                                           width onto a plane normal to the line extending from
would not collide with that structure.
                                                           the top and center of the shielding structure to the
   c. Limitations. Application of the shielding effect     midpoint of the runway end. The shadow plane
is limited to:                                             extends horizontally outward away from the
                                                           shielding structure until it intersects or reaches the
    1. The physical protection provided by existing        end of one of the imaginary approach area surfaces;
natural terrain, topographic features, or surface          see FIG 6−3−13, FIG 6−3−14, and FIG 6−3−15.


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6−3−15. RECOMMENDING MARKING AND                            marking and/or lighting will not impair aviation
LIGHTING OF STRUCTURES                                      safety.

   a. STANDARDS. FAA standards, procedures,                      2. Is not more than 200 feet AGL, or is not
and types of equipment specified for marking and            identified as an obstruction under the standards of
lighting structures are presented in AC 70/7460−1,          Part 77, Subpart C, but may indicate by its particular
Obstruction Marking and Lighting. These standards           location a need to be marked or lighted to promote
provide a uniform means to indicate the presence of         aviation safety.
structures and are the basis for recommending
                                                               d. PARTIAL MARKING AND/OR LIGHTING.
marking and lighting to the public. These standards
                                                            Omitting marking and/or lighting on the structure’s
are the minimum acceptable level of conspicuity to
                                                            bottom section; for example, the lowest 200 feet of a
warn pilots of the presence of structures. They must
                                                            tall structure should be discouraged unless that part
also apply when Federal funds are to be expended for
                                                            of the structure is shielded. Marking and lighting
the marking and lighting of structures.
                                                            standards are based on a total system configuration
   b. AERONAUTICAL STUDY. All aeronautical                  and are only effective when used as intended.
studies must include an evaluation to determine             Therefore, the structure and its location must be given
whether obstruction marking and/or lighting are             careful consideration before recommending partial
necessary and to what extent. The entire structure or       marking and/or lighting.
complex, including closely surrounding terrain and             e. OMISSION/DELETION OF MARKING
other structures, must be considered in recommend-          AND/OR LIGHTING. When recommending that
ing marking and lighting. A subsequent study may            marking and/or lighting be omitted because the
indicate a need to change an earlier determination by       structure is sufficiently conspicuous by its shape,
recommending marking and/or lighting when such              size, and/or color, include a judgment that the
recommendation was not made in the original study           structure would not blend into any physical or
or, in some cases, after a determination was issued.        atmospheric background that may reasonably be
    1. Proposed Structures. A change in runway              expected in the vicinity.
length or alignment, a new airport development                 f. EXCESSIVE            MARKING         AND/OR
project, a change in aeronautical procedures, or other      LIGHTING. Recommend specific advisory circular
similar reasons may be cause for additional study of        chapters, paragraphs, and, when appropriate, specific
proposed structures to determine whether marking            intensities that address the minimum marking and/or
and/or lighting are now appropriate even when not           lighting standards for safety. Recommendation of
recommended in the original study.                          specific chapters allow for the use of those chapters
     2. Existing Structures. A marking and/or               only, although they may contain references to other
lighting recommendation may be made at any time.            chapters. If the sponsor insists on or the FAA finds
In making the recommendation consider changes that          that high intensity white lights would not be
have occurred in the vicinity of the structure since the    objectionable, indicate in the determination that the
initial determination was made and include such             FAA does not object to increased conspicuity
factors as increased aircraft activity, the closing of an   provided the lighting is in accordance with guidelines
airport, changes in IFR and VFR routes, and                 of AC 70/7460−1, Obstruction Marking and
shielding by taller structures.                             Lighting.

  c. RECOMMENDATIONS. Recommend the                           g. VOLUNTARY MARKING AND/OR
marking and/or lighting standard most appropriate           LIGHTING. When it is determined not necessary for
for the height and location of any temporary or             aviation safety, marking and/or lighting may be
permanent structure that:                                   accomplished on a voluntary basis. However,
                                                            marking and/or lighting should not be a condition of
    1. Exceeds 200 feet in overall height above             the determination, but instead, it must be recommen-
ground level at its site or exceeds any obstruction         ded that, if voluntary, marking and/or lighting be
standard contained in Part 77, Subpart C, unless an         installed and maintained in accordance with
aeronautical study shows the absence of such                AC 70/7460−1.


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 h. HIGH AND MEDIUM INTENSITY WHITE                         should be made to determine whether the deviation/
OBSTRUCTION LIGHTING SYSTEMS:                               modification is acceptable, and/or whether the
                                                            recommended marking and/or lighting should be
    1. High intensity lighting systems should not be        retained.
recommended for structures 700 feet above ground
level or less, except when an aeronautical study                 1. A deviation refers to a change from the
shows otherwise. This does not apply to catenary            standard patterns, intensities, flashing rates, etc. A
support structures.                                         marking and lighting deviation is considered to be
                                                            marking patterns or colors and lighting patterns,
     2. Use caution in recommending the use of high         intensities, flashing rates, or colors other than those
or medium intensity white obstruction lighting              specified in AC 70/7460−1.
systems, especially in a populated area. Aircraft
operations can be adversely affected where strobe−                 (a) Examples of deviations are contained in
lighted structures are located in an area of limited        the AC 70/7460−1 and requests for deviations must
visual cues. These situations can contribute to spatial     be forwarded to the OEG to conduct an aeronautical
disorientation when pilots are maneuvering in               study for the proposal. The results of the evaluation
minimum visibility conditions. Marine or surface            will be sent to the Team Manager for review.
vessels and other vehicles, especially on nearby                   (b) Deviations require final approval by the
elevated roadways, could also experience operational        OEG Group Manager. The Team Manager will
difficulties from strobe lights. External shielding         forward the results of the study to the OEG Group
may minimize adverse effects. Examples are:                 Manager for approval or denial and the OEG must
                                                            effect all coordination necessary for issuing the
      (a) At locations within the airport/heliport
                                                            decision.
environment in a sparsely lighted rural setting.
                                                                2. The OEG may approve a request for a
       (b) At an offshore installation.                     modified application of marking and/or lighting.
    3. Dual lighting systems should be considered           Examples of modified applications may be found in
when a structure is located in or near residential areas,   AC 70/7460−1. A modified application of marking
especially in hilly terrain where some houses are           and lighting refers to the amount of standard marking
higher than the base of the structure.                      and/or lighting such as:

   i. LIGHTED SPHERICAL MARKERS. Lighted                           (a) Placing the standard marking and/or
spherical markers are available for increased night         lighting on only a portion of a structure.
conspicuity of high−voltage (69kv or greater)                      (b) Adding marking and/or lighting in
transmission−line catenary wires. These markers             addition to the standard marking and lighting to
should be recommended for increased night                   improve the conspicuity of the structure;
conspicuity for such wires when located near
                                                                   (c) Reducing the amount of standard marking
airports, heliports, across rivers, canyons, lakes, etc.
                                                            and/or lighting to the extent of eliminating one or the
Consider the following when recommending lighted
                                                            other as may be considered appropriate.
spherical markers: aeronautical activity, nighttime
operations, low level operations, local weather                   (d) Adjusting the standard spacing of recom-
conditions, height of wires, length of span, etc. If the    mended intermediate light levels for ease of
support structures are to be lighted, also consider         installation and maintenance as considered
lighting the catenary wires. Installation, size, color,     appropriate.
and pattern guidelines can be found in Advisory
Circular 70/7460−1, Obstruction Marking and                 6−3−16. NEGOTIATIONS
Lighting.
                                                            Negotiations must be attempted with the sponsor to
   j. DEVIATIONS AND MODIFICATION TO                        reduce the structure’s height so that it does not exceed
MARKING AND/OR LIGHTING. When the                           obstruction standards, mitigate any adverse effects on
sponsor or owner of a structure requests permission         aeronautical operations, air navigation and/or
to deviate from or modify the recommended marking           communication facilities, or eliminate substantial
and/or lighting, an appropriate aeronautical study          adverse effect. If feasible, recommend collocation of


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the structure with other structures of equal or greater          (e) A structure that would be temporary and
heights. Include in the aeronautical study file and        appropriate temporary actions could be taken to
determination a record of all the negotiations             accommodate the structure without an undue
attempted and the results. If negotiations result in the   hardship on aviation.
withdrawal of the OE notice, the obstruction                     (f) A structure found to have substantial
evaluation study may be terminated. Otherwise, the         adverse effect based on an internal FAA study.
obstruction evaluation must be continued to its
conclusion.                                                       (g) A structure that would exceed Part
                                                           77.17 (a)(2) and would be outside the traffic pattern.
                                                                  (h) A structure that would affect IFR
6−3−17. CIRCULARIZATION
                                                           operations but would only need FAA comment. For
   a. Circularizing a public notice allows the FAA to      instance a structure that:
solicit information that may assist in determining                  (1) Would raise a MOCA, but not a MEA.
what effect, if any, the proposed structure would have
to the navigable airspace. The OEG determines when                  (2) Would raise a MVA.
it is necessary to distribute a public notice.                      (3) Would raise a MIA.
    1. If a structure first exceeds obstruction                3. Circularization for existing structures will be
standards, then a public notice should be circularized     determined on a case−by−case basis.
if:                                                          b. Each public notice (automated letter CIR) must
                                                           contain:
       (a) An airport is affected;
                                                                1. A complete, detailed description of the
       (b) There is possible VFR effect; or                structure including, as appropriate, illustrations or
       (c) There is a change in aeronautical               graphics depicting the location of the structure:
operations or procedures.                                         (a) On−airport studies. Use airport layout
                                                           plans or best available graphic.
     2. Circularization is not necessary for the
following types of studies:                                       (b) Off−airport studies. Use the appropriate
                                                           aeronautical chart. Additional illustrations may be
       (a) A reduction in the height of an existing        included, as necessary.
structure.
                                                               2. A complete description of the obstruction
       (b) A structure that would be located on a site     standards that are exceeded, the number of feet by
in proximity to another previously studied structure,      which the structure exceeds the standards.
would have no greater effect on aeronautical
                                                                3. An explanation of the potential effects of the
operations and procedures, and the basis for the
                                                           structure in sufficient detail to assist interested
determination issued under the previous study could
                                                           persons in formulating comments on how the
be appropriately applied.
                                                           structure would affect aeronautical operations.
       (c) A proposed structure replacing an existing           4. A date by which comments are to be received.
or destroyed structure, that would be located on the       The date established should normally allow
same site and at the same or lower height as the           interested persons 30 days in which to submit
original structure, and marked and/or lighted under        comments, but a shorter comment period may be
the same provisions as the original structure (this        established depending upon circumstances.
does not preclude a recommendation for additional
marking/lighting to ensure conspicuity).                      c. Public notices should be distributed to those
                                                           who can provide information needed to assist in
       (d) A proposed structure that would be in           identifying/evaluating the aeronautical effect of the
proximity to, and have no greater effect than, a           structure. As a minimum, the following government-
previously studied existing structure, and no plan is      al agencies, organizations, and individuals should be
on file with the FAA to alter or remove the existing       included on distribution lists due to their inherent
structure.                                                 aeronautical interests:


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    1. The sponsor and/or his representative.                   7. A proposed structure that penetrates the 40:1
                                                           by 35 feet or more, departure slope must be
     2. All known aviation interested persons and
                                                           circularized to the following:
groups such as state, city, and local aviation
authorities; airport authorities; various military                (a) Aircraft Owners and Pilots Association;
organizations within the DOD; and other organiza-                 (b) National Business Aviation Association;
tions or individuals that demonstrate a specific
aeronautical interest through subscription to notifica-           (c) Regional Air Line Association;
tions. More information about subscribing to                      (d) Department of Defense;
notifications regarding structures that may impact a
specific airport or airspace area is available at                 (e) Air Transport Association;
https://oeaaa.faa.gov.                                            (f) Air Line Pilots Association; and
    3. Airport owners as follows:                                  (g) Other appropriate persons and organiza-
       (a) All public−use airports within 13 NM of         tions listed in this section.
the structure.                                               d. Document and place in the obstruction
       (b) All private−use airports within 5 NM of         evaluation file the names of each person and/or
the structure.                                             organizations to which public notice was sent.
                                                           Reference to a distribution code, mailing list, or other
     4. The specific FAA approach facility, en route       evidence of circularization is sufficient provided a
facility (ARTCC), and Flight Service Station (FSS)         printout or list of each coded distribution is
in whose airspace the structure is located.                maintained for future reference. Also record the time
    5. An adjacent regional/service area office if the     period during which each printout or list is used. The
structure is within 13 NM of the regional state            retention schedule is listed in Order 1350.15, Records
boundary.                                                  Organization, Transfer, and Destruction Standards.
                                                             e. Consider only valid aeronautical objections or
     6. As appropriate, state and local authorities;
                                                           comments in determining the extent of adverse effect
civic groups; organizations; and individuals who do
                                                           of the structure. Comments of a non−aeronautical
not have an aeronautical interest, but may become
                                                           nature are not considered in obstruction evaluation as
involved in specific aeronautical cases, must be
                                                           described in Part 77.
included in the notice distribution, and given
supplemental notice of actions and proceedings on a           f. If the sponsor agrees to revise the project so that
case−by−case basis. Those involved should clearly          it does not exceed obstruction standards and would
understand that the public notice is to solicit            have no adverse effect, cancel the public notice,
aeronautical comments concerning the physical              advise interested parties, as necessary, revise the
effect of the structure on the safe and efficient use of   obstruction evaluation study, and proceed as
airspace by aircraft.                                      appropriate.




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Rule 16. The Record on Review or Enforcement, FRAP Rule 16




  United States Code Annotated
    Federal Rules of Appellate Procedure (Refs & Annos)
       Title IV. Review or Enforcement of an Order of an Administrative Agency, Board, Commission, or Officer

                                 Federal Rules of Appellate Procedure Rule 16, 28 U.S.C.A.

                                       Rule 16. The Record on Review or Enforcement

                                                         Currentness


(a) Composition of the Record. The record on review or enforcement of an agency order consists of:


  (1) the order involved;


  (2) any findings or report on which it is based; and


  (3) the pleadings, evidence, and other parts of the proceedings before the agency.


(b) Omissions From or Misstatements in the Record. The parties may at any time, by stipulation, supply any omission from
the record or correct a misstatement, or the court may so direct. If necessary, the court may direct that a supplemental record
be prepared and filed.


  CREDIT(S)
  (As amended Apr. 24, 1998, eff. Dec. 1, 1998.)


F. R. A. P. Rule 16, 28 U.S.C.A., FRAP Rule 16
Including Amendments Received Through 7-1-22

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Rule 28-2. Contents of Briefs, CTA9 Rule 28-2




  United States Code Annotated
    United States Court of Appeals for the Ninth Circuit
       Title VII. General Provisions

                                         U.S.Ct. of App. 9th Cir. Rule 28-2, 28 U.S.C.A.

                                                  Rule 28-2. Contents of Briefs

                                                   Effective: December 1, 2021
                                                           Currentness


In addition to the requirements of FRAP 28, briefs shall comply with the following rules:


28-2.1. Certificate as to Interested Parties. [Abrogated]


28-2.2. Statement of Jurisdiction. In a statement preceding the statement of the case in its initial brief, each party shall
demonstrate the jurisdiction of the district court or agency and of this Court by stating, in the following order:


(a) The statutory basis of subject matter jurisdiction of the district court or agency;


(b) The basis for claiming that the judgment or order appealed from is final or otherwise appealable, and the statutory basis
of jurisdiction of this Court.


(c) The date of entry of the judgment or order appealed from; the date of filing of the notice of appeal or petition for review;
and the statute or rule under which it is claimed the appeal is timely.

If the appellee agrees with appellant's statement of one or more of the foregoing matters, it will be sufficient for the appellee
to state such agreement under an appropriate heading.


28-2.3. Attorneys Fees. [Abrogated]


28-2.4. Bail/Detention Status.


(a) The opening brief in a criminal appeal shall contain a statement as to the bail status of the defendant. If the defendant is in
custody, the projected release date should be included.


(b) The opening brief in a petition for review of a decision of the Board of Immigration Appeals shall state whether petitioner (1)
is detained in the custody of the Department of Homeland Security or at liberty and/or (2) has moved the Board of Immigration
Appeals to reopen or applied to the district director for an adjustment of status.




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28-2.5. Reviewability and Standard of Review. As to each issue, appellant shall state where in the record on appeal the issue
was raised and ruled on and identify the applicable standard of review.

In addition, if a ruling complained of on appeal is one to which a party must have objected at trial to preserve a right of review,
e.g., a failure to admit or to exclude evidence or the giving of or refusal to give a jury instruction, the party shall state where
in the record on appeal the objection and ruling are set forth.


28-2.6. Statement of Related Cases. Each party shall identify in a statement on the last page of its initial brief any known related
case pending in this Court. This statement constitutes a certificate of counsel, excluded from the page and word limitations
pursuant to FRAP 32(f) and Circuit Rule 32-1(c). As to each such case, the statement shall include the name and Court of Appeals
docket number of the related case and describe its relationship to the case being briefed. Cases are deemed related if they:


(a) arise out of the same or consolidated cases in the district court or agency;


(b) raise the same or closely related issues; or


(c) involve the same transaction or event.

If no other cases in this Court are deemed related, no statement is required. The appellee need not include any case identified
as related in the appellant's brief.

                              CIRCUIT ADVISORY COMMITTEE NOTE TO RULE 28-2.6

The purpose of this rule is to alert the parties and the Court to other known cases pending in this Court that might affect how
the instant case is managed or decided. This rule does not require counsel to list all known cases raising the same or closely
related issues if the list would be lengthy and counsel in good faith believes that listing the cases would not assist the Court
or other parties.


28-2.7. Addendum to Briefs.

Statutory. Pertinent constitutional provisions, treaties, statutes, ordinances, regulations or rules must be set forth verbatim and
with appropriate citation either (1) following the statement of issues presented for review or (2) in an addendum introduced by
a table of contents and bound with the brief or separately; in the latter case, a statement must appear referencing the addendum
after the statement of issues. If this material is included in an addendum bound with the brief, the addendum must be separated
from the body of the brief (and from any other addendum) by a distinctively colored page. A party need not resubmit material
included with a previous brief or addendum; if it is not repeated, a statement must appear under this heading as follows: [e]xcept
for the following, all applicable statutes, etc., are contained in the brief or addendum of __________.

Orders Challenged in Immigration Cases. All opening briefs filed in counseled petitions for review of immigration cases
must include an addendum comprised of the orders being challenged, including any orders of the immigration court and Board
of Immigration Appeals. The addendum shall be bound with the brief, both when it is filed electronically and, when ordered,
in hard copies. When paper copies of the brief are ordered, the addendum shall be separated from the brief by a distinctively
colored page.

                              CIRCUIT ADVISORY COMMITTEE NOTE TO RULE 28-2.7



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Rule 28-2. Contents of Briefs, CTA9 Rule 28-2




The purpose of the statutory addendum is to provide the Court with convenient access to statutory or other authority that is either
specifically at issue or is not already commonly known, not to provide every statute or legal authority that is cited in the brief.
For example, when the parties are debating the meaning of a specific clause or portion of a statute, regulation, constitutional
provision, or other legal authority, or when they are discussing authority that is not commonly cited, the addenda should include
the pertinent provisions of that legal authority. (New 12/1/21)


28-2.8. Record References. Every assertion in the briefs regarding matters in the record, except for undisputed facts offered
only for general background, shall be supported by a citation to the Excerpts of Record, unless the filer is exempt from the
excerpts requirement.

                              CIRCUIT ADVISORY COMMITTEE NOTE TO RULE 28-2.8

Because every record-related citation other than undisputed facts offered only for general background shall be supported by the
Excerpts of Record, citations directly to the underlying record are otherwise prohibited.


28-2.9. Bankruptcy Appeals. [Abrogated]


   CREDIT(S)
   [Effective January 1, 1997. Amended effective January 1, 2005. Paragraph 28-2.8 adopted by the Court on an emergency
basis, March 22, 2006, subject to further review and consideration by the Advisory Rules Committee. Amended effective July
1, 2007; December 1, 2009; December 1, 2019; December 1, 2020; December 1, 2021.]

     <Federal Rules of Appellate Procedure also govern procedure in appeals to United States courts of appeals>



Notes of Decisions (1)

U. S. Ct. of App. 9th Cir. Rule 28-2, 28 U.S.C.A., CTA9 Rule 28-2
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